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                UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF MINNESOTA

Odom Sports Medicine P.A. d/b/a Odom
Health & Wellness, on behalf of itself and      Case No. 0:25-cv-949
all others similarly situated,
                                                CLASS ACTION
                 Plaintiff,                     COMPLAINT AND JURY
                                                DEMAND
v.

UnitedHealth Group Incorporated,
UnitedHealthCare Services, Inc., Optum
Insight, Change Healthcare Inc., Change
Healthcare Operations, LLC, Change
Healthcare Solutions, LLC, Change
Healthcare Holdings, Inc., Change
Healthcare Technologies, LLC, and
Change Healthcare Pharmacy Solutions,
Inc., Optum, Inc., Optum Financial, Inc.,
Optum Bank, and Optum Pay,

               Defendants.
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          Plaintiff Odom Sports Medicine P.A. d/b/a Odom Health & Wellness (“Plaintiff”),

on behalf of itself and all others similarly situated, brings this class action complaint against

Defendants UnitedHealth Group Incorporated (“UHG”), UnitedHealthCare Services, Inc.

(“UHCS”), Optum Insight, Change Healthcare Inc. (“Change Healthcare”), Change

Healthcare Operations, LLC (“CHO”), Change Healthcare Solutions, LLC (“CHS”),

Change Healthcare Holdings, Inc. (“CHH”), Change Healthcare Technologies, LLC

(“CHT”), and Change Healthcare Pharmacy Solutions, Inc. (“CHPS”) (Change Healthcare,

CHO, CHS, CHH, CHT, and CHPS together, referred to as “Change”) (Change, with UHG,

UHCS, and Optum Insight, the “Change Health Defendants”). Plaintiff, on behalf of itself

and all others similarly situated, also brings this class action complaint against Optum, Inc.,

Optum Financial, Inc. (“Optum Financial”), Optum Bank, and Optum Pay, (collectively,

the “Optum Financial Defendants”) (Change Health Defendants and the Optum Financial

Defendants, together, “Defendants”). Plaintiff makes the following allegations:

                                PRELIMINARY STATEMENT

          1.     The Change Health Defendants control the largest healthcare payment

platform in United States (the “Change Platform”), providing, among other things, a claims

processing service that is used by healthcare providers and pharmacies (“Providers”) to

submit claims to insurance companies and receive reimbursement for services performed

(the “Services”). The Change Platform processes 15 billion transactions annually,

“touching one in three U.S. patient records.” 1 In dollar terms, the Change Platform


1
    Nicole Sganga & Andres Triay, Cyberattack on UnitedHealth still impacting prescription access:



                                                 1
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processes approximately “$2 trillion in health care payments each year,” meaning Change

is “responsibl[e] for more than 44% of all the dollars flowing through the health care

system.” 2

       2.      To operate the Change Platform, Change Health Defendants transact in and

store huge volumes of confidential information including highly sensitive and confidential

patient information including full names, phone numbers, addresses, Social Security

numbers, emails, and payment information, referred to “Personally Identifying

Information” or “PII.” They also store patients’ medical records, claims information,

provider information, diagnoses, medicines, test results, images, care and treatment, and

billing, claims and payment information including health insurance information (such as

health plans and policies, insurance companies, member and group ID numbers, and

Medicaid-Medicare-government payer ID numbers)—collectively known as “Private

Health Information” or “PHI” (PII and PHI together are referred to as “Private

Information”).

       3.      In February 2024, as a direct result of Change Health Defendants’ failure to

employ even rudimentary cybersecurity precautions to authenticate the identities of people

logging in to their networks, Change Health Defendants’ systems were compromised in the




“These are threats to life,” CBS NEWS (Feb. 29, 2024, 9:00 PM),
https://www.cbsnews.com/news/unitedhealth-cyberattack-change-healthcare-prescription-access-
still-impacted/ (last visited Jan. 14, 2024).
2
  American Hospital Association Letter to Congress, American Hospital Association (Apr. 29,
2024),                               https://www.aha.org/system/files/media/file/2024/04/24-04-29-
AHALTRtoEandConUHG-webwattachment.pdf at 1 (last visited Jan. 14, 2025).


                                                2
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largest health care ransomware attack in history (the “Ransomware Attack”), which

compromised millions of patients’ Private Information.

       4.     In the aftermath of the Ransomware Attack, Change Health Defendants’

systems were left in gross disrepair. Change Health Defendants had no viable backup plans

or systems. And in a largely futile effort to prevent further collapse of its systems, Change

Health Defendants elected to take the remaining systems—including the Change

Platform—offline completely, rendering it useless to Providers.

       5.     While the Change Platform was shut down, Providers were unable to verify

insurance, determine copays, submit claims, or receive payment. As a result, Providers did

not timely receive billions of dollars in earned reimbursements. The impact on the U.S.

health care system, and particularly Providers, was devastating. Hospitals, clinics, doctors,

and therapists were left without a mechanism to be paid for their services for months.

Likewise, pharmacies were unable to use the Change Platform to confirm patients’

insurance coverage, putting pharmacies in the position of not being able to determine what

to charge patients for vital medications. Pharmacists were left unable to fill prescriptions

for many patients, including patients who could not, or would not, cover the full cost of

prescriptions. According to John Riggi, national advisor for cybersecurity and risk at the

American Hospital Association (“AHA”), “this cyberattack has affected every hospital in

the country one way or another.” 3


3
 Nicole Sganga & Andres Triay, Cyberattack on UnitedHealth still impacting prescription access:
“These are threats to life,” CBS NEWS (Feb. 29, 2024, 9:00 PM),
https://www.cbsnews.com/news/unitedhealth-cyberattack-change-healthcare-prescription-access-
still-impacted/ (last visited Jan. 14, 2025).


                                              3
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       6.     During the shutdown, many Providers were unable to verify patient

eligibility and coverage, file claims, appeal denials or partial denials of claims, receive

electronic health remittances (ERAs), bill patients, or receive payments from insurers. 4

This continued for nearly three months, when many Providers received little, if any,

reimbursement from insurers for patient visits. Without reimbursement, many Providers

were not able to afford employee payroll, make rent and mortgage payments, and secure

medical supplies. At the same time, Providers had to bring on new staff and divert and pay

existing staff overtime in order to attempt manual claim submissions or use other

workarounds to seek payment. Many Providers took out high-interest loans to cover costs

during the Change Platform shutdown.

       7.     Exacerbating this crisis, Change Health Defendants did not provide adequate

transparency and guidance to Providers during the shutdown. Specifically, Change Health

Defendants published misleading statements with significant omissions during the

shutdown to lead Providers and the public to believe that the Change Platform would be

offline only briefly. These statements were designed to pacify Providers to keep them from

defecting to competitors and to hide Change Health Defendants’ incompetence from the

public—all while Change Health Defendants knew that the outage would continue for

much longer. Almost a year after the Ransomware Attack and a claimed $2.5 billion in

remediation costs, Change Health Defendants still have not fully restored their systems.



4
  See Associated Press, Minnetonka Based United Healthcare Hacked, KNSI (Feb. 29, 2024,
5:46 PM), https://knsiradio.com/2024/02/29/minnetonka-based-united-healthcare-hacked/ (last
visited Jan. 14, 2025).


                                            4
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       8.     Since the Ransomware Attack and shutdown, it has come to light that, despite

the known risks of ransomware attacks to the healthcare industry, Change Health

Defendants failed to implement reasonable security procedures and practices and failed to

disclose material facts surrounding their deficient security protocols. Change Health

Defendants have admitted that a well-known ransomware gang—ALPHV—was able to

enter their externally facing server because it was not protected with even basic multifactor

authentication (“MFA”). But there were multiple other critical failures. As Senator Wyden

exclaimed during the Senate hearing, “the attack could have been stopped with

Cybersecurity 101.” 5

       9.     As a result of Defendants’ conduct, Providers have suffered and will continue

to suffer substantial harm. The event pushed many Providers to the brink of closure (and

forced some Providers to close altogether). To survive, Providers necessarily incurred extra

costs to make up for unpaid claims and in an attempt to submit claims without the Change

Platform. Moreover, Providers will never see any compensation for claims that they were

unable to submit during the shutdown. As explained below, almost a year after the

Ransomware Attack, Providers are still in a precarious financial situation due to

Defendants’ conduct and failures.

       10.    In an effort to stem the devastating tide of financial harm caused by their

failures, Defendants offered a “Temporary Funding Assistance Program” (TFAP) to


5
   Pietje Kobus, UnitedHealth CEO Testifies on Cyberattack Before Senate, HEALTHCARE
INNOVATION                          (May                   2,                         2024),
https://www.hcinnovationgroup.com/cybersecurity/news/55036427/unitedhealth-ceo-testifies-
on-cyberattack-before-senate (last visited Jan. 14, 2025).


                                             5
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Providers, a program which, according to Defendants, has provided billions of dollars in

loans to Providers.

       11.     However, even though Providers are still financially reeling in the wake of

the Ransomware Attack, and despite a promise not to collect until Providers were made

whole, Defendants are now demanding full repayment of those loans, often in a single lump

sum.

       12.     As alleged below, Plaintiff seeks redress for Defendants’ conduct.

                             JURISDICTION AND VENUE

       13.     This Court has subject matter jurisdiction over this action under the Class

Action Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5

million exclusive of interest and costs. There are more than 100 putative Class members

and at least some members of the proposed Classes have a different citizenship from

Defendants. This Court has supplemental jurisdiction over the state law claims pursuant to

28 U.S.C. § 1367 because all claims alleged herein form part of the same case or

controversy.

       14.     On June 7, 2024, the Judicial Panel on Multidistrict Litigation issued an order

centralizing litigation arising from the Ransomware Attack in this District. MDL Pretrial

Order No. 1 (ECF 54) allows Plaintiff to directly file this case in the MDL docket.

       15.     The District of Minnesota may exercise jurisdiction over Defendants because

they maintain their principal place of business in Minnesota, are registered to conduct

business in Minnesota, have sufficient minimum contacts in Minnesota, have consented to

jurisdiction in Minnesota; and/or, intentionally availed themselves of the markets within


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Minnesota through the promotion, sale, and marketing of the Services, thus rendering the

exercise of jurisdiction by this Court proper and necessary.

          16.   Venue is proper in the District of Minnesota under 28 U.S.C. § 1391 because

Defendants UHG, UHCS, Optum, Inc., Optum Financial, Optum Insight, and CHT reside

in this District and a substantial part of the events or omissions giving rise to Plaintiff’s

claims occurred in this District.

                               FACTUAL ALLEGATIONS
I.        Defendants

          17.   Defendant UnitedHealth Group Incorporated is a Delaware corporation with

its principal place of business in Minnetonka, Minnesota, and is registered to do business

in the State. UHG exercises control over the management of the Change cybersecurity

systems as evidenced by, inter alia, UHG’s response to the Ransomware Attack as alleged

herein.

          18.   UHG “is a vertically integrated healthcare company” comprised of non-

defendant United Healthcare Insurance Co. (“UHIC”), the largest commercial health

insurer in America, and three Optum divisions: Optum Health, Optum Insight, and Optum

Rx. 6 UHG “is a health care leviathan” that, in 2023, “generated $324 billion in revenue,

making it the fifth largest company in America.” 7 Its sprawling corporate structure is

shown in Exhibit A.



6
  U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Proposed
Findings of Fact and Conclusions of Law, Dkt. No. 121 at 3 (D.D.C. Sept. 7, 2022).
7
  Opening Statement Testimony of Senator Ron Wyden, Senate Finance Committee (May 1, 2024),
https://www.finance.senate.gov/imo/media/doc/0501_wyden_statement.pdf at 1 (last visited Jan.
14, 2025).


                                              7
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       19.    Defendant UnitedHealthCare Services, Inc. is a direct subsidiary of UHG and

maintains its principal place of business in Minnetonka, Minnesota, and is incorporated

and registered to do business in Minnesota. UHCS is the parent to UHG’s insurance

business (UHIC), and healthcare services business operated under the Optum brand. UHG

describes UHCS as providing “administrative services.” 8 On the repayment demand letters

sent to Providers that took out TFAP loans, Providers are directed to send payment to

UHCS.

       20.    Defendant Optum Insight, Inc. is a direct subsidiary of UHCS. It is

incorporated in Delaware, and has its principal place of business in Eden Prairie,

Minnesota. Optum Insight is registered to do business in Minnesota. Optum Insight is “a

data and technology company and a technology-enabled services business” that offers a

range of solutions including data, analytics, research, consulting, technology, and managed

services to hospitals, physicians, health plans, governments, and life sciences companies. 9

According to Change Healthcare Defendants, Optum Insight assists customers in lowering

administrative expenses, complying with regulations, enhancing clinical performance, and

reimagining operational processes. 10 When some Providers attempted to contact Change

Healthcare for help during the prolonged shutdown, they received responses from Optum

Insight.


8
  Legal Entities, UnitedHealthcare, www.uhc.com/legal/legal-entities (last visited Jan. 6, 2025).
9
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Post-Trial
Memorandum Opinion, Dkt. No. 138 at 11 and 18 (D.D.C. Sept. 21, 2022).
10
   Optum: Technology and data-enabled care delivery, UNITEDHEALTH GROUP,
https://www.unitedhealthgroup.com/people-and-businesses/businesses/optum.html (last visited
Jan. 14, 2025).


                                               8
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       21.    Defendant Change Healthcare Inc. is a subsidiary of UHG, and is

incorporated in Delaware, with its principal place of business in Nashville, Tennessee.

Change Healthcare is now operated as part of Optum Insight and maintained the Change

Platform at all relevant times.

       22.    Defendant Change Healthcare Operations, LLC is a subsidiary of Change

Healthcare. It is incorporated in Delaware, with its principal place of business in Nashville,

Tennessee. CHO is a contracting entity for Change Healthcare. 11 In order to acquire a

TFAP loan, Providers were required to enter an agreement with CHO.

       23.    Defendant Change Healthcare Solutions, LLC is a subsidiary of or

“managed” by CHO. It is incorporated in Delaware, has its principal place of business in

Nashville, Tennessee, and is registered to do business in Minnesota. CHS provides

“software & services for health plans & providers,” 12 and is one of the contracting entities

for Providers to access the Change Platform.

       24.    Defendant Change Healthcare Holdings, Inc. is a subsidiary of Change

Healthcare. CHH is incorporated in Delaware, with its principal place of business in

Nashville, Tennessee. In Defendant CHT’s Minnesota Secretary of State Business

registration, CHH’s address is listed as Optum’s headquarters in Eden Prairie, Minnesota.



11
                                            See,                                        e.g.,
https://www.gsaelibrary.gsa.gov/ElibMain/home.dohttp:/www.gsaelibrary.%20gsa.gov/ElibMain
/contractClauses.do?scheduleNumber=MAS&contractNumber=GS-35F-
0176X&contractorName=CHANGE+HEALTHCARE+OPERATIONS%2C+LLC&duns=C7DY
EBLK3PE1&source=ci&view=clauses (last accessed Jan. 6, 2025).
12
         Vendor       Profile      –      Change        Healthcare      Solutions,     LLC,
https://oregonbuys.gov/bso/external/vendor/vendorProfileOrgInfo.sdo?external=true&vendorId=
V00019459 (last visited Jan. 6, 2025).


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       25.    Defendant Change Healthcare Technologies, LLC is a subsidiary of, or

“managed” by, CHH. It is incorporated in Delaware, and is registered to do business in

Minnesota, and on such registration lists a principal place of business in Eden Prairie,

Minnesota. CHT is a contracting entity for Change Healthcare and is one of the contracting

entities for Providers to access the Change Platform. 13

       26.    Defendant Change Healthcare Pharmacy Solutions, Inc. is a subsidiary of

Change Healthcare. It is incorporated in Maine, with a principal place of business in

Nashville, Tennessee. CHPS is registered to do business in Minnesota. It describes itself

as providing “Pharmacy Benefit Administration,” 14 and as a “Pharmacy Benefits

Manager,” 15 and is one of the contracting entities for Providers to access the Change

Platform.

       27.    Defendant Optum, Inc. is a subsidiary of UHCS. It is incorporated in

Delaware. Optum, Inc. has its principal place of business in Eden Prairie, Minnesota, and

is registered to do business in Minnesota. It “functions as a holding company for the health

services business.” 16 The letters sent to Providers demanding repayment of TFAP loans

have been sent on Optum letterhead.



13
    See, e.g., https://www.osc.ny.gov/files/state-agencies/contracts/xreports/2022/forma/SNY01-
C505573-3320211.pdf             (last           accessed          Jan.          6,        2025),
https://www.hca.wa.gov/assets/program/k6038-chc-mra-redacted.pdf (last accessed Jan. 6, 2025).
14
       Vendor       Profile   –      Change      Healthcare     Pharmacy       Solutions,   Inc.,
https://www.bidbuy.illinois.gov/bso/external/vendor/vendorProfileOrgInfo.sdo?external=true&v
endorId=V00010940 (last visited Jan. 6, 2025).
15
             Company            List           Report,          May            22,         2023,
https://www.wvinsurance.gov/Portals/0/PBM%20List%205-22-23.pdf (last accessed Jan. 14,
2025).
16
   Id.


                                               10
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       28.    Defendant Optum Financial, Inc. is a subsidiary of Optum, Inc. It is

incorporated in Delaware, with a principal place of business in Eden Prairie, Minnesota.

Optum Financial is registered to do business in Minnesota. It describes itself as providing

solutions for “people and organizations [to] save, spend, invest, and pay for health care.” 17

       29.    Defendant Optum Bank is a subsidiary of Optum Financial. It is

incorporated, and has its principal place of business, in Utah. It is a member of the FDIC,

and “offer[s] or administer[s]” 18 HSAs, FSAs, HRAs, MSAs, and other health accounts,

for Optum Financial.

       30.    Defendant Optum Pay is a “financial solution” “platform that helps expedite

payments,” “optimize claims reconciliation,” and allows “[P]roviders [to] choose how to

receive payments from a network of payers.” 19 Optum Pay is “made possible by Optum

Financial, Inc. and its subsidiaries” and related “[b]anking services are provided by

OptumBank.” 20 Providers were required to access TFAP loans through an Optum Pay

account and managed their loans from that same account.

II.    UHG’s Acquisition of Change Healthcare

       31.    Change Healthcare was founded in 1996 and provides data solutions to health

insurers and providers to facilitate clinical decision making and payment processing across




17
     Financial Solutions, UnitedHealth Group, www.unitedhealthgroup.com/uhg/what-we-
do/health-financial-services.html (last visited Jan. 6, 2025).
18
   Optum Bank, www.optumbank.com (last visited Jan. 6, 2025).
19
   Financial Solutions, Payments and lending, Optum Pay, www.business.optum.com/en/financial-
solutions/payments-lending-solutions/optum-pay.html (last visited Jan. 6, 2025).
20
    Optum Pay Premium Sell Sheet, available at https://www.optum.com/content/dam/o4-
dam/resources/pdfs/sell-sheets/optum-pay-premium-sell-sheet.pdf (last accessed Jan. 6, 2025).


                                             11
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the healthcare industry. 21 In 2017, Change Healthcare entered into a joint venture with

McKesson Corporation’s Technologies Solutions Division. In January 2021, UHG agreed

to purchase Change Healthcare for approximately $13 billion. 22

       32.     In October 2022, following a Department of Justice antitrust investigation

into the merger and a trial ultimately approving the merger, UHG finalized its acquisition

of Change Healthcare and integrated it operationally with Optum Insight. 23

       33.     As part of the merger, UHG “acquired all of the outstanding common shares

of Change Healthcare” and, thus, wholly owns Change Healthcare and is responsible for

supervising the cybersecurity practices and protocols of Change Healthcare. 24

       34.     At the time of its merger with Change Healthcare in 2022, Optum Insight

processed approximately 192 million medical claims annually via its Electronic Data

Interchange (“EDI”) clearinghouse on behalf of approximately 220 of the approximately

230 health insurance companies in the United States. 25 Via its own EDI clearinghouse

network, Optum Insight had the largest collection of claims and electronic medical records



21
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Proposed
Findings of Fact and Conclusions of Law, Dkt. No. 121 at 45 (D.D.C. Sept. 7, 2022).
22
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Post-Trial
Memorandum Opinion, Dkt. No. 138 at 9 (D.D.C. Sept. 21, 2022).
23
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Proposed
Findings of Fact and Conclusions of Law, Dkt. No. 121 at 11 and 18 (D.D.C. Sept. 7, 2022); James
Farrell, Change Healthcare Blames ‘BlackCat’ Group for Cyber Attack That Disrupted
Pharmacies        and     Health     Systems,     FORBES       (Feb.     29,       2024,      1:18
PM),https://www.forbes.com/sites/jamesfarrell/2024/02/29/change-healthcare-blames-blackcat-
group-for-cyber-attack-that-disrupted-pharmacies-and-health-systems/ (last visited Jan. 14, 2025).
24
       Change      Healthcare     Inc.    &     UnitedHealth      Group       Inc,     TAGNIFI,
https://viewer.tagnifi.com/deals/TD0000030592 (last visited Jan. 14, 2025).
25
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Proposed
Findings of Fact and Conclusions of Law, Dkt. No. 121 at 19-20 (D.D.C. Sept. 7, 2022).


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in the healthcare industry, covering approximately 270 million American lives. 26 The

claims data “sent to Optum Insight [] is not de-identified or masked in any way.” 27

        35.   In support of the merger, UHG and Change Healthcare claimed that the

merger would result in significant benefits to the healthcare system, including simplifying

and accelerating physician billing and patient payment processes, accelerating cash flow

to providers, lowering financial burdens, decreasing the frequency of denied claims, and

“minimiz[ing] the amount of friction between payers and providers.” 28 The DOJ and the

AHA presciently cast doubts on those claims, highlighting the dangers of concentrating

essential healthcare services and processes in UHG and Change Healthcare. 29

III.    The Change Platform’s Critical Role in the Healthcare Industry

        36.   Generally, payments for healthcare services in the United States proceed in

the following fashion: health insurers like UHIC, also known as “payers,” pay medical

claims submitted by Providers. 30




26
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Pretrial
Brief, Dkt. No. 103 at 12 (D.D.C. July 22, 2022).
27
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Proposed
Findings of Fact and Conclusions of Law, Dkt. No. 121 at 21 and 26 (D.D.C. Sept. 7, 2022).
28
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Post-Trial
Memorandum Opinion, Dkt. No. 138 at 9 (D.D.C. Sept. 21, 2022); and U.S. v. UnitedHealth Group
Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Pretrial Brief, Dkt. No. 103 at 1 (D.D.C.
July 22, 2022).
29
   Testimony of AHA at Hearing “Examining Health Sector Cybersecurity in the Wake of the
Change Healthcare Attack”, House Committee on Energy and Commerce (Apr. 16, 2024),
https://www.aha.org/system/files/media/file/2024/04/24-04-29-AHALTRtoEandConUHG-
webwattachment.pdf at 2-3 (last accessed Jan. 14, 2025).
30
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Post-Trial
Memorandum Opinion, Dkt. No. 138 at 1-2 (D.D.C. Sept. 21, 2022).


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        37.      The process begins with a patient seeking care from a Provider, who confirms

insurance coverage (and often collects a co-pay). The Provider then treats the patient or

dispenses medication. 31

        38.      The Provider then submits a claim to a payer so that the Provider can be

compensated for treating the patient. 32

        39.      Prior to paying the Provider, the payer evaluates the submitted claim to

determine how much, if any, it should pay the Provider for the services rendered. 33

        40.      The payer then sends the provider an electronic remittance advice, or ERA,

which outlines the claim, and the allowable amounts paid or denied, and pays the Provider

the determined amount. 34

        41.      The Provider then uses the ERA to bill the patient for any outstanding

amounts owed. Alternatively, the Provider may appeal the determination of the payer.

        42.      The exchanges of information described above occur through EDI

clearinghouses, which serve as the “pipes” through which electronic transmission of

claims, ERAs, payment remittances, and other information are exchanged between payers

and Providers. 35 EDI clearinghouses are used by 95% of Providers and by 99% of

insurers. 36




31
   Id.
32
   Id.
33
   Id.
34
   Id.
35
   Id. at 3-4.
36
   Id. at 4.


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       43.     EDI clearinghouse transactions are submitted in standardized transaction

formats, which include a substantial amount of highly sensitive patient information in order

to effectuate revenue management, clinical decision making, and patient support. 37

       44.     In the regular course of business, the Change Health Defendants store

massive volumes of highly sensitive and confidential Private Information, including full

names, phone numbers, addresses, Social Security numbers, emails, and payment

information.


       45.     The Change Health Defendants also store massive volumes of information

protected by the Health Insurance Portability and Accountability Act of 1996 (“HIPAA”)

such as medical records, medical record numbers, dental records, claims information,

providers, diagnoses, medicines, test results, images, care and treatment, and billing, claims

and payment information (such as claim numbers, account numbers, billing codes, payment

cards, financial and banking information, payments made, and balance due). The Change

Health Defendants also store massive volumes of health insurance information (such as

primary, secondary or other health plans/policies, insurance companies, member/group ID

numbers, and Medicaid-Medicare-government payer ID numbers).

       46.     In theory, the standardized format of information in EDI clearinghouse

transactions should enable clearinghouses, Providers, and health insurers to be




37
  U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Proposed
Findings of Fact and Conclusions of Law, Dkt. No. 121 at 53 and 61 (D.D.C. Sept. 7, 2022); and
U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Post-Trial
Memorandum Opinion, Dkt. No. 138 at 4 (D.D.C. Sept. 21, 2022).


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interoperable across the healthcare industry. 38 In practice, as evidenced by the immense

disruption to claims processing following the Ransomware Attack and shutdown, that is

not the case. This is partly a function of the fact that Providers connect with the Change

Platform either directly or indirectly via a third-party vendor or intermediary. 39 While some

Providers contract directly with Change to access the Change Platform, many providers

use electronic health records (“EHR”) or revenue cycle management (“RCM”) vendors to

establish an indirect connection to the Change Platform, typically for a monthly flat fee. 40

       47.    A further hindrance to Providers simply switching to new EDI

clearinghouses is the fact that some payers require the use of a single EDI clearinghouse.

Providers and payers are able to transmit claims to clearinghouses for which they do not

have a direct or indirect connection via “hops” because EDI clearinghouses have

agreements to transmit claims they receive from other EDI clearinghouses on behalf of

each EDI’s clearinghouse. 41

       48.    It is rare for Providers to switch EDI clearinghouses because it is costly and

time-intensive to do so. For example, sometimes switching EDI clearinghouses entails

switching the entire back-end RCM system into which the EDI clearinghouse integrates.42


38
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Proposed
Findings of Fact and Conclusions of Law, Dkt. No. 121 at 46 and 52 (D.D.C. Sept. 7, 2022).
39
   Id. at 54.
40
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Proposed
Findings of Fact and Conclusions of Law, Dkt. No. 121 at 54 (D.D.C. Sept. 7, 2022); and U.S. v.
UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Pretrial Brief, Dkt.
No. 103 at 10 (D.D.C. July 22, 2022).
41
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Pretrial
Brief, Dkt. No. 103 at 10 (D.D.C. July 22, 2022).
42
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Proposed
Findings of Fact and Conclusions of Law, Dkt. No. 121 at 54 (D.D.C. Sept. 7, 2022).


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Even when a full back-end system switch is not necessary, it can take between 60 and 90

days to switch EDI clearinghouses. 43 Indeed, during the 2022 DOJ antitrust trial, evidence

from multiple witnesses was presented discussing the profound costs in both time and

money to switching EDI clearinghouses and UHG acknowledged that “switching costs are

too high” and “[c]auses too much disruption for providers.” 44 Two witnesses’ testimonies

revealed that it could take twelve to eighteen months and over $1 million for a provider to

switch from the Change Platform. 45

       49.    The ubiquity of the Change Platform is largely a function of its vast network

of relationships with payers and Providers. 46 Indeed, as of March 6, 2024, Change had an

exclusive payer arrangement with over 1,000 payers in the United States, including in

several states, Aetna, BlueCross/Blue Shield, Kaiser, and Medicaid. 47 Such payers only

accepted electronic claims through the Change Platform. Including exclusive payers,

Change’s pervasive network connectivity includes a network of approximately 900,000

physicians, 118,000 dentists, 33,000 pharmacies, 5,500 hospitals, 600 laboratories, and

2,400 government and commercial health insurers. 48




43
   Id.
44
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, DOJ’s Proposed
Findings of Fact and Conclusions of Law, Dkt. No. 119 at 60 (D.D.C. Sept. 6, 2022).
45
   Id. at 61.
46
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Proposed
Findings of Fact and Conclusions of Law, Dkt. No. 121 at 56 (D.D.C. Sept. 7, 2022).
47
     Exclusive Change Healthcare Payers for Claims, DrChrono (Mar. 6, 2024),
https://support.drchrono.com/home/23548386475163-exclusive-change-healthcare-payers-for-
claims-as-of-3-06-2024 (last accessed Jan. 14 2025).
48
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Change’s Answer
to DOJ Complaint, Dkt. No. 38 at 4 and 7 (D.D.C. Mar. 11, 2022).


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        50.   At the time of its merger with Optum Insight, Change operated the country’s

largest EDI clearinghouse with over half of all commercial medical claims data flowing

through the Change Platform. 49 Using its EDI clearinghouse network, Change’s Network

Solutions business facilitates “‘financial, administrative, and clinical transactions,

electronic business-to-business and consumer-to-business payments,’ as well as

aggregation and analytical data services,” and generally the transmission of electronic

claims. 50 Specifically, the Change Platform processes medical claims relating to 15 billion

health care transactions annually, encompassing a third of the patient records in the United

States. 51

        51.   Change stores and maintains historical claims data flowing through the

Change Platform as far back as 2012. 52

        52.   Change claims to have “primary” and “secondary” use rights over the data

transmitted through its clearinghouse “for purposes beyond providing clearinghouse




49
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Post-Trial
Memorandum Opinion, Dkt. No. 138 at 8 and 34 (D.D.C. Sept. 21, 2022).
50
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Proposed
Findings of Fact and Conclusions of Law, Dkt. No. 121 at 46 and 52 (D.D.C. Sept. 7, 2022).
51
   Opening Statement Testimony of Senator Ron Wyden, Senate Finance Committee (May 1, 2024),
https://www.finance.senate.gov/imo/media/doc/0501_wyden_statement.pdf at 1 (last accessed
Jan. 14, 2025); and Opening Statement Testimony of Senator Mike Crapo, Senate Finance
Committee                          (May                        1,                       2024),
https://www.finance.senate.gov/imo/media/doc/0501_crapo_statement.pdf at 1 (last accessed Jan.
14, 2025).
52
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Change’s Answer
to DOJ Complaint, Dkt. No. 38 at 11 (D.D.C. Mar. 11, 2022).


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services” and licenses de-identified data to third parties. 53 In January 2021, Optum Insight

estimated that Change had data rights for approximately 90 million Americans annually.54

IV.    The Ransomware Attack and Shutdown of the Change Platform

       53.    “Ransomware” is a form of malicious software―or malware―designed to

encrypt files on computer devices, rendering any files and the systems that rely on them

unusable. After deploying their malware to cripple vulnerable computer systems, malicious

actors then demand ransom in exchange for encryption. 55

       54.    ALPHV (pronounced “ALF-V”) is a well-known Russian-speaking

cybercriminal ransomware group that emerged in 2021. ALPHV is also commonly known

as BlackCat due to the image of a black cat on its ransomware dark web site. 56

       55.    Healthcare Providers and their affiliates like the Change Health Defendants

are prime targets for ransomware attacks for two primary reasons. First, they have

significant resources to pay ransoms in order to remove encryption and regain control over

their networks and systems. Second, the Private Information they collect and store is

valuable on black markets.




53
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Post-Trial
Memorandum Opinion, Dkt. No. 138 at 8 (D.D.C. Sept. 21, 2022).
54
   U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Proposed
Findings of Fact and Conclusions of Law, Dkt. No. 121 at 87 (D.D.C. Sept. 7, 2022).
55
    CYBERSECURITY AND INFRASTRUCTURE AGENCY, Ransomware Guide (Sept. 2020),
https://www.cisa.gov/sites/default/files/publications/CISA_MS-
ISAC_Ransomware%20Guide_S508C.pdf (last visited Jan. 10, 2025).
56
   Christine Barry, ALPHV-BlackCat ransomware group goes dark, Barracuda (Mar. 7, 2024),
https://blog.barracuda.com/2024/03/06/alphv-BlackCat-ransomware-goes-dark (last viewed Jan.
14, 2025).


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       56.    On February 12, 2024, the username and password for a low-level, customer

support employee’s access to Change’s Citrix portal were posted in a Telegram group chat

that advertises the sale of stolen credentials. The account was a basic, user-level account:

it only had access to specific applications and did not itself have administrator access or

credentials. However, the compromised account had the authority to create accounts with

administrative privileges.

       57.    On February 12, 2024, ALPHV and its affiliates used the compromised

credentials to remotely access Change’s portal, 57 thus gaining entry to the basic, user-level

account.

       58.    Since “the [Citrix Remote PC Access] portal did not have multi-factor

authentication,” ALPHV experienced limited roadblocks in gaining access to Change’s

networks with the compromised credentials. 58

       59.    From that limited account, the cybercriminals were able to break into the

server that hosted Change’s medication management application, SelectRX. This action

was undetected by the Change Health Defendants.

       60.    From there, the cybercriminals created privileged accounts with

administrator capabilities that permitted access to and deletion of any and all files, changes

to system configurations, and similar administrator-level activities. These actions went to


57
   Testimony of Andrew Witty Chief Executive Officer, UnitedHealth Group Before the House
Energy and Commerce Committee Subcommittee on Oversight and Investigations “Examining the
Change     Healthcare     Cyberattack”,     UnitedHealth   Group     (May    1,     2024),
https://www.congress.gov/118/meeting/house/117242/witnesses/HHRG-118-IF02-Wstate-
WittyS-20240501-U5.pdf at 5 (last accessed Jan. 14, 2025).
58
   Id.


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the heart of the integrity of Change’s most critical IT infrastructure, but still went

undetected by Change Health Defendants.

       61.    ALPHV navigated through Change’s systems and servers at will, installing

multiple malware tools and applications, as well as multiple “backdoors” that would allow

the cybercriminals to return to those environments in the event Change detected the

suspicious activity and tried to block access.

       62.    ALPHV also copied and exfiltrated terabytes of Private Information for tens

of millions of individuals. ALPHV has disclosed that the data exfiltrated in the

Ransomware Attack includes millions of “active U.S. military/navy personnel PII,”

“medical records,” “dental records,” “payments information,” “claims information,”

“patients’ PII data (i.e., phone numbers, addresses, social security numbers, email

addresses, and more,” “3000+ source code files for Change Health solutions…,”

“insurance records,” and “more.” 59

       63.    This access to systems critical to Change’s operations went undetected by

Change Health Defendants for nine days until the ALPHV chose to reveal itself when it

began to encrypt Change’s systems on February 21, 2024.

       64.    On that date, ALPHV ransomware was deployed on Change’s networks,

“encrypting Change Healthcare’s systems” so they could not be accessed without


59
  Massive Ransomware Attack Disrupts US Healthcare: Behind it, ALPHV/BlackCat, Heimdal
Security (last updated Nov. 19, 2024), available at: https://heimdalsecurity.com/blog/massive-
ransomware-attack-disrupts-us-healthcare-behind-it-alphv-blackcat/ (last visited Jan. 14, 2025);
Helga Labus, ALPHV/BlackCat threatens to leak data stolen in Change Healthare cyberattack,
Help Net Security (Feb. 29, 2024), https://www.helpnetsecurity.com/2024/02/29/alphv-blackcat-
change-healthcare/ (last accessed Jan. 14, 2025).


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ALPHV’s cooperation. 60 ALPHV warned Change Health Defendants that they were

“walking on a very thin line be careful you just might fall over.” 61

       65.    Upon learning of the Ransomware Attack, and “[n]ot knowing the entry point

of the attack at the time,” UHG “immediately severed connectivity with Change’s data

centers to eliminate the potential for further infection” to “the broader health system.” 62

       66.    In other words, Change Health Defendants intentionally made the Change

Platform inoperable after discovering the Ransomware Attack, severing the connection

between Providers and payers.

       67.    On February 21, 2024, in an SEC filing, UHG announced that “a suspected

nation-state associated cyber security threat actor had gained access to some of the Change

Healthcare information technology systems.” 63 UHG falsely claimed to have “proactively

isolated the impacted systems from other connecting systems . . . .” 64 UHG also said it was

“working with law enforcement” and allegedly “notified customers, clients and certain


60
   Testimony of Andrew Witty Chief Executive Officer, UnitedHealth Group Before the House
Energy and Commerce Committee Subcommittee on Oversight and Investigations “Examining the
Change       Healthcare     Cyberattack”,   UnitedHealth   Group     (May     1,    2024),
https://www.congress.gov/118/meeting/house/117242/witnesses/HHRG-118-IF02-Wstate-
WittyS-20240501-U5.pdf at 4 (last accessed Jan. 14, 2025).
61
    Notorious ransomware group claims responsibility for attacks roiling US pharmacies,
CyberScoop (Feb. 28, 2024), https://cyberscoop.com/ransomware-alphv-healthcare-pharmacies/
(last viewed Jan. 14, 2025).
62
   Testimony of Andrew Witty Chief Executive Officer, UnitedHealth Group Before the House
Energy and Commerce Committee Subcommittee on Oversight and Investigations “Examining the
Change       Healthcare     Cyberattack”,   UnitedHealth   Group     (May     1,    2024),
https://www.congress.gov/118/meeting/house/117242/witnesses/HHRG-118-IF02-Wstate-
WittyS-20240501-U5.pdf at 4 (last accessed Jan. 14, 2025).
63
       UnitedHealth Group Incorporation Form 8-K, SEC (Feb. 21, 2024),
https://www.sec.gov/Archives/edgar/data/731766/000073176624000045/unh-20240221.htm (last
accessed Jan. 14, 2025).
64
   Id.


                                              22
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government agencies” of the Ransomware Attack. 65 UHG disclosed that the “network

interruption [was] specific to Change Healthcare . . . .” 66 UHG explained it was working

to restore Change’s information technology systems and resume normal operations as soon

as possible but informed the SEC that UHG could not estimate the duration or extent of the

disruption at that time. 67

       68.     Weeks later, the Change Platform remained largely inoperable.

       69.     In light of the ongoing shutdown of the Change Platform, on March 13, 2024,

the Health and Human Services’ Office for Civil Rights (“OCR”) sounded the alarm via a

Dear Colleague Letter issued to Change wherein OCR emphasized that the Ransomware

Attack continued to “pose[] a direct threat to critically needed patient care and essential

operations of the health care industry.” 68

       70.     On April 22, 2024, UHG CEO Andrew Witty reported that files containing

Private Information for a substantial proportion of America’s population were among the

files exfiltrated. 69 Witty further reported that it would take several months of continued

analysis before UHG believed it had enough information to begin notifying impacted

customers and individuals. 70



65
   Id.
66
   Id.
67
   Id.
68
   OCR Change Healthcare Dear Colleague Letter, U.S. DEPT. OF HEALTH AND HUMAN SERVICES
(Mar. 13, 2024), https://www.hhs.gov/about/news/2024/03/13/hhs-office-civil-rights-issues-
letter-opens-investigation-change-healthcare-cyberattack.html (last visited Jan. 14, 2025).
69
   UnitedHealth Group Update on Change Healthcare Cyberattack, UNITEDHEALTH GROUP (Apr.
22, 2024), https://www.unitedhealthgroup.com/newsroom/2024/2024-04-22-uhg-updates-on-
change-healthcare-cyberattack.html (last visited Jan. 14, 2025).
70
   Id.


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       71.    On April 27, 2024, the AHA provided Congress a letter containing

significant information regarding patients’ access to care and the financial instability of

Providers across the country resulting from the Ransomware Attack. 71 AHA identified

“Change Healthcare [as] the predominant source of more than 100 critical functions that

keep the health care system operating.” 72 According to AHA, Change “processes $2 trillion

in health care payments each year,” meaning Change is “responsibl[e] for more than 44%

of all the dollars flowing through the health care system.” 73

       72.    As the AHA explained in its letter to Congress, the Ransomware Attack

resulted in “patients struggl[ing] to get timely access to care and billions of dollars stopped

flowing to providers, thereby threatening the solvency of our nation’s provider network.” 74

Part of the reason for this was because “[d]uring the early days and weeks of the event, it

was very difficult to obtain clear information from UnitedHealth Group. Initially, there was

little communication and a minimization from UnitedHealth Group about the impact this

event was having on the ability to process medical claims.” 75

       73.    A third of the hospitals surveyed by AHA reported that the Ransomware

Attack “disrupted more than half of their revenue.” 76 This figure does not tell the full story



71
   Id.
71
   Id.
71
   American Hospital Association Letter to Congress, American Hospital Association (Apr. 29,
2024), https://www.aha.org/system/files/media/file/2024/04/24-04-29-
AHALTRtoEandConUHG-webwattachment.pdf at 1 (last accessed Jan. 14, 2025).
72
   Id. at 2.
73
   Id.
74
   Id.
75
   Id. at 3.
76
   Id.


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of the toll on Providers’ finances and operations as, post-restoration, Providers still had to

“work through the backlog of claims, reprocess denials…, reconcile payments to accounts,

and bill patients.” 77 Much of this work remains incomplete, even today.

       74.    On May 1, 2024, Witty testified before both the House Energy and

Commerce Committee and the Senate Finance Committee concerning the Ransomware

Attack. Witty acknowledged the Ransomware Attack and shutdown “caused incredible

disruption across the health care system,” resulting in everything from “pharmacists having

to manually submit claims to the rural family medicine practice struggling to make

payroll.” 78 Witty “pledge[d] to do everything in our power to fix [Providers’] system[s] or

underwrite their cashflow.” 79

       75.    Witty also testified about the continued shutdown, acknowledging that UHG

was still “mak[ing] substantial progress in restoring Change Healthcare’s impacted

services” and that a “number of providers [ ] continue to be adversely impacted.” 80

       76.    Witty confirmed UHG’s understanding that “Cyberattacks continue to

increase in frequency and significance” and explained that UHG understood the

pervasiveness of these attacks, given UHG’s own experiences with over 450,000 intrusion

attempts annually. 81




77
   Id. at 4.
78
   Opening Statement Testimony of UHG CEO Andrew Witty, Senate Finance Committee (May 1,
2024), https://www.finance.senate.gov/imo/media/doc/0501_witty_testimony.pdf at 1 (last
accessed Jan. 14, 2025).
79
   Id. at 5.
80
   Id. at 4.
81
   Id. at 2.


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       77.    Witty claimed that since Change recently became part of UHG, they “were

in the process of upgrading and modernizing their technology” when the Ransomware

Attack happened and that “the attack itself had the effect of locking up the various backup

systems which had been developed inside Change before it was acquired.” 82

       78.    Witty also admitted that ALPHV gained access to the Change network

because of a lack of MFA on a Change server. More specifically, ALPHV used

compromised credentials to infiltrate the network through the externally facing Change

server, without MFA restrictions. 83

       79.    Witty further estimated one-third of Americans were impacted by the

Ransomware Attack. 84 He confirmed that “it is likely to take several months … to identify

and notify impacted customers and individuals.” 85

       80.    Witty confirmed that Private Information from the exfiltrated files had been

posted for approximately a week on the dark web and that UHG paid the demanded $22

million ransom in bitcoin. 86


82
   Kapko, Matt, Change Healthcare Cyberattack: 5 Technical Takeaways from United Health
CEO’s          Testimony,       Cybersecurity           Dive        (May     6,      2024),
https://www.cybersecuritydive.com/news/unitedhealth-change-attack-tech-
takeaways/715200/#:~:text=%E2%80%9CThe%20attack%20itself%20had%20the,data%20cente
rs%20before%20the%20attack (last visited Jan. 14, 2025).
83
   Id.
84
   Ashley Capoot, UnitedHealth CEO estimates one-third of Americans could be impacted by
Change      Healthcare    cyberattack,     CNBC        (last   updated   May    20,  2024),
https://www.cnbc.com/2024/05/01/unitedhealth-ceo-one-third-of-americans-could-be-impacted-
by-change-healthcare-cyberattack.html (last visited Jan. 14, 2025).
85
   Opening Statement Testimony of UHG CEO Andrew Witty, Senate Finance Committee (May 1,
2024), https://www.finance.senate.gov/imo/media/doc/0501_witty_testimony.pdf at 3 (last
accessed Jan. 14, 2025).
86
    Witty Response to Questions for the Record, Senate Finance Committee (May 1, 2024),



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        81.     However, after ALPHV received UHG’s ransom payment, it chose not to

share the ransom with its affiliate who executed the attack, known as “notchy,” and instead,

“published a fake law enforcement takedown notice on their leak site before disappearing

with the full $22 million.” 87

        82.     Notchy confirmed that, because it was not paid its share of the ransom by

ALPHV, it would retain the stolen data, stating: “Sadly for Change Healthcare, their data

[is] still with us.” 88

        83.     Notchy and other former ALPHV affiliated groups have since joined the

ransomware group RansomHub. 89

        84.     RansomHub has since confirmed that it possesses 4 terabytes of the Change

Health Defendants’ stolen data by posting screenshots on its dark web ransomware site and

has attempted to extort Change Health Defendants out of additional ransom payments. 90

        85.     In response to ALPHV refusing to pay notchy, Dmitry Smilyanets, a

researcher for the security firm Recorded Future, said, “[t]he affiliates still have this data,


https://www.finance.senate.gov/imo/media/doc/responses_for_questions_for_the_record_to_and
rew_witty.pdf at 5 and 40 (last accessed January 14, 2025).
87
   RansomHub Has Change Healthcare Data – BlackCat/ALPHV Rebrand?, Halcyon (Apr. 15,
2024), https://www.halcyon.ai/attacks-news/ransomhub-has-change-healthcare-data---BlackCat-
alphv-rebrand (last visited Jan. 14, 2025).
88
   BlackCat Ransomware Group Implodes After Apparent $22M Payment by Change Healthcare,
Krebs on Security (Mar. 5, 2024), https://krebsonsecurity.com/2024/03/BlackCat-ransomware-
group-implodes-after-apparent-22m-ransom-payment-by-change-healthcare/ (last visited Jan. 14,
2025).
89
   Christine Barry, Change Healthcare and RansomHub redefine double extortion, Barracuda
(Apr. 12, 2024), https://blog.barracuda.com/2024/04/12/change-healthcare-and-ransomhub-
redefine-double-extortion (last visited Jn. 14, 2025).
90
   Ionut Arghire, Ransomware Group Starts Leaking Data Allegedly Stolen From Change
Healthcare, Security Week (Apr. 16, 2024), https://www.securityweek.com/ransomware-group-
starts-leaking-data-allegedly-stolen-from-change-healthcare/ (last visited Jan. 14, 2025).


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and they’re mad they didn’t receive this money. . . . It’s a good lesson for everyone. You

cannot trust criminals; their word is worth nothing.” 91

       86.    The number of individuals in the United States that have been affected by the

Ransomware Attack is astounding. On October 22, 2024, Change notified OCR that it had

already sent individual notices to approximately 100 million Americans. 92

       87.    As for the continued shutdown of the Change Platform, Services slowly

began to resume at partial levels for some users beginning in late March and April 2024.

       88.    However, it was not until November 21, 2024, nine months after the initial

shutdown, that Change reported that it had purportedly “complete[d] restoration of its

clearinghouse services.” 93 Even then, Change was only offering “partial service” for some

Services.

V.     The Aftermath of the Ransomware Attack for Providers

       89.    The Change Health Defendants’ decision to shut down the Change Platform

without warning to the Providers and insurers that were dependent on the Platform and

without offering an adequate substitute wreaked chaos throughout the healthcare system



91
   BlackCat Ransomware Group Implodes After Apparent $22M Payment by Change Healthcare,
Krebs on Security (Mar. 5, 2024), https://krebsonsecurity.com/2024/03/BlackCat-ransomware-
group-implodes-after-apparent-22m-ransom-payment-by-change-healthcare/ (last visited Jan. 14,
2025).
92
   OCR Change Healthcare Cybersecurity Incident Frequently Asked Questions, U.S DEPT. OF
HEALTH AND HUMAN SERVICES (Oct. 24, 2024), https://www.hhs.gov/hipaa/for-
professionals/special-topics/change-healthcare-cybersecurity-incident-frequently-asked-
questions/index.html (last visited Jan. 14, 2025).
93
   Change Healthcare’s Clearinghouse Services Available Now After the February Ransomware
Attack, Compliance Home (Nov. 22, 2024) https://www.compliancehome.com/change-
healthcares-clearinghouse-services-available-now-after-the-february-ransomware-attack/  (last
visited Jan. 14, 2025).


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which, as a result of Defendants’ mergers and expansion throughout the industry, was

dependent on the Change Platform as essential infrastructure for the provision of patient

care.

         90.   The Change Health Defendants’ decision acutely impacted Providers by

cutting off their ability to submit insurance claims and receive payment. Other Services

that Providers relied on were also cut off, such as their ability to receive ERAs and conduct

patient eligibility checks.

         91.   Change Health Defendants were unable to fully restore these Services for

months after the Ransomware Attack, and some Providers are still unable to access ERAs.

         92.   By cutting off Providers from necessary healthcare system infrastructure and

substantial cash inflows for months, the Ransomware Attack and resulting shutdown

decimated healthcare practices nationwide.

         93.   Change Health Defendants’ decision to shut down the Change Platform

caused Providers to experience loss or delay of months’ worth of income, and forced

Providers to divert resources from their ordinary operations, including patient care.

         94.   Change Health Defendants’ decision to publish incomplete and misleading

information regarding the duration and extent of the shutdown exacerbated these injuries.

                      a. The Ransomware Attack and shutdown interfered with
                         Providers’ services caused Providers to experience losses or
                         delays of substantial income.

         95.   The Change Platform outage impacted Providers’ ability to provide their

services and to obtain compensation for the services they were able to provide to patients

in numerous ways.


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       96.    When Change Health Defendants disconnected the Change Platform, many

Providers lost their primary (and, in some cases, their only) method for processing

insurance claims for their services, including both private insurance and government-

provided healthcare plans such as Medicare. Because these Providers could not submit

and/or have their claims processed for months, they did not receive payment from

insurance companies or the government for months. For example, a survey conducted by

the American Medical Association (AMA) two months after the Ransomware Attack

revealed that 80% of responding physician practices were still losing revenue from the

inability to submit claims. 94

       97.    Some Providers resorted to submitting paper claims through the mail, a

laborious process that required enormous human resources on the part of Providers.

Providers either had to marshal additional human resources to undertake paper claims

submissions, or were simply unable to submit claims. Two months after the Ransomware

Attack, the AMA survey revealed that 91% of surveyed physician practices still had to

commit additional staff time and resources to complete revenue cycle tasks. 95 Many

insurers became so overrun by paper claims during the outage that they encouraged

Providers to stop submitting paper claims due to long delays processing paper claims.

These delays further delayed payment to Providers or prevented payment altogether.




94
    Change Healthcare cyberattack impact, AM. MED. ASS’N, at 2 (April 29, 2024),
https://www.ama-assn.org/system/files/change-healthcare-follow-up-survey-results.pdf (last
accessed Jan. 14, 2025).
95
   Id.


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       98.    Providers also exerted resources by trying to switch clearinghouses so they

could submit claims through those alternative services. However, attempting to switch

clearinghouses on an expedited timeline created costs associated with switching, increases

in rejected claims, interoperability issues with some insurers, and lost employee time

implementing and learning a new system.

       99.    Switching clearinghouses was also not a panacea. Many insurers accepted

electronic claims exclusively through the Change Platform. When Change Health

Defendants shut down the Change Platform, Providers—regardless of whether they

exclusively used the Change Platform—could only submit claims to those insurers by

paper and mail. Switching to another clearinghouse was simply not an option because these

payers did not work with any clearinghouses other than Change.

       100.   As a result of Change Health Defendants’ decision to take the Change

Platform offline, Providers were (and some still are) unable to receive ERAs for claims

that were (i) submitted via the Change Platform shortly before the shutdown, and (ii) claims

that were submitted via alternate routes (such as by paper or through an alternative

clearinghouse) during the shutdown. Without ERAs, Providers have no way of knowing

which claims insurers have accepted, partially accepted, or rejected, and are unable to go

through the normal process of addressing these issues to ensure that they receive full

payment before insurers’ Timely Filing Deadlines. 96



96
  Insurers require Providers to submit and resolve claims within a certain number of days of
providing service to the patient. These deadlines are referred to as “Timely Filing Deadlines.”
Claims submitted or resolved after the Timely Filing Deadline, are not paid by the insurer.


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           101.   Providers were unable to engage in payment reconciliations and decide

which denials to appeal without ERAs. As a result, Providers missed out on payments,

entirely or partially, on claims for which they never received ERAs or for which they

received delayed ERAs.

           102.   Two months after the Ransomware Attack and shutdown, 79% of surveyed

physician practices were still unable to receive ERAs. 97 Some Providers remain unable to

receive or access historical ERAs.

           103.   In addition to being unable to perform reconciliations by using the ERAs,

due to the length of the shutdown, there are some claims for which Providers were unable

to make any submission by the Timely Filing Deadlines. With no or limited ability to

submit claims, the Ransomware Attack and subsequent Change Platform shutdown caused

many Providers to have claims denied by insurers for not complying with the Timely Filing

Deadlines. Providers will never be paid for these claims because of Change Health

Defendants’ shutdown.

           104.   Just two months after the Ransomware Attack and shutdown, 27% of

surveyed physician practices reported that they had already had claims denied for failing

to meet Timely Filing Deadlines because of the Ransomware Attack and shutdown. 98

           105.   Moreover, as a result of Change Health Defendants’ shutdown of the Change

Platform, Providers were unable to check patient coverage or eligibility for prescriptions

and services. In some cases, Providers had to delay services or turn patients away, including


97
     Id. at 1.
98
     Id. at 3.


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for new patients whose insurance coverage Providers could not verify due to the shutdown.

In other cases, patients were unwilling to proceed with treatment not knowing how much

of the prescription or service was going to be covered by the insurer. Similarly, some

patients were unable to get timely prior authorizations for needed care, further depriving

Providers of income. 99

       106.   Providers had to absorb these costs and losses in real time, impacting not

only their financial stability but in many instances, their ability to provide patient care.

Providers took lines of credit from banks and used their personal savings to afford

employee payroll, rent, and other expenses, and they racked up duplicated payment

software charges. To persevere through the shutdown, some Providers cut resources for

patients by, for example, reducing the amount of supplies on hand. The administrative and

financial challenges created by the Change shutdown forced at least 91% of respondents to

the AMA survey to divert staff time and resources to administrative tasks, and caused many

Providers to delay or forgo seeing patients. 100

       107.   The loss of substantial income to Providers came at a time when interest rates

were at recent highs. The AMA survey revealed that, two months after the Ransomware

Attack and shutdown, 62% of surveyed physician practices were still using personal funds




99
    Massive cyberattack crippled a healthcare payment system a month ago. It’s not fixed yet.,
NJ.COM (Mar. 20, 2024), https://www.nj.com/news/2024/03/massive-cyberattack-crippled-a-
healthcare-payment-system-a-month-ago-its-not-fixed-yet.html (last visited Jan. 14, 2025).
100
     Change Healthcare cyberattack impact, AM. MED. ASS’N, at 2 (April 29, 2024),
https://www.ama-assn.org/system/files/change-healthcare-follow-up-survey-results.pdf       (last
accessed Jan. 14, 2025).


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to cover practice expenses while 29% had taken out private bank loans. 101 One survey

respondent stated that “Having to borrow from my bank at 14% interest is a hardship I will

never recoup.” 102 Many Providers are still paying down loans that they were required to

take out during the outage to keep their doors open to patients in need, to the extent they

could do so, and continue paying their staff.

                        b. Change Health Defendants’ misleading statements and
                           omissions during the shutdown caused further damage.

           108.   To make matters worse, throughout the shutdown Change Health Defendants

published misleading statements and omitted key facts regarding the impact of the

Ransomware Attack. These statements were intended to (and did) deceive Providers into

believing that the Change Platform would be back online quickly and to hide Change

Health Defendants’ ineptitude from the public.

           109.   In reality, Change Health Defendants had exclusive knowledge of facts that

clearly indicated it would be months before the Change Platform was up and running at its

previous capacity. These facts, which only Change Health Defendants were privy to,

included (i) the extensive damage caused by the cybercriminals, (ii) Change Health

Defendants’ lack of disaster recovery or business continuity plans and preparations to

provide an adequate substitute for the Services offered on the Change Platform, and (iii)

the labor required to reconnect the massive volume of entities to the Change Platform, all

of which are required for the Platform to function at full capacity.



101
      Id. at 2.
102
      Id.


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       110.   Despite this knowledge, Change Health Defendants persisted in making

several misleading statements and omitting key facts that would have allowed Providers to

mitigate their damages.

       111.   For example, when Change Health Defendants disclosed the Change

Platform was the subject of the Ransomware Attack on February 21, 2024, they

optimistically stated that they were “working diligently to restore those systems and resume

normal operations as soon as possible, but cannot estimate the duration or extent of the

disruption at this time.” 103 In reality, Change Health Defendants knew it would take

months—not days or weeks—to restore the Change Platform.

       112.   On each day between February 21 and February 28, 2024, Optum, Inc.

provided an update regarding the shutdown, again emphasizing that the Change Health

Defendants were working to restore Services: 104

              We are working on multiple approaches to restore the impacted
              environment and will not take any shortcuts or take any
              additional risk as we bring our systems back online. We will
              continue to be proactive and aggressive with all our systems
              and if we suspect any issue with the system, we will
              immediately take action and disconnect. The disruption is
              expected to last at least through the day.

       113.   Discovery will show that sometime between February 21 and February 28,

2024, Change Health Defendants came to understand the shutdown would last much longer



103
       UnitedHealth Group Incorporation Form 8-K, SEC (Feb. 21, 2024),
https://www.sec.gov/Archives/edgar/data/731766/000073176624000045/unh-20240221.htm (last
visited Jan. 14, 2025).
104
    Update: restoration in progress of Change Healthcare products and services, Optum (Feb. 21,
2024 to Feb. 28, 2024), https://solution-status.optum.com/incidents/hqpjz25fn3n7 (emphasis
added) (last visited Jan. 14, 2025).


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than a day, or even weeks. Despite this knowledge, Change Health Defendants failed to

remove the misleading statement on the Optum website stating the “disruption is expected

to last at least through the day,” and omitted a truthful assessment of how long the

shutdown would last.

       114.      On February 29, 2024, UHG COO Dirk McMahon said that UHG was setting

up a loan program to help Providers who could not submit insurance claims while Change

is offline. He stated the program would last “for the next couple of weeks as this continues

to go on.” 105

       115.      Discovery will show that as of February 29, Change Health Defendants knew

that the Change Platform would not be fully operational for much longer than a couple

weeks. Despite this knowledge, Change Health Defendants misleadingly stated the Change

Platform would be offline for a “couple of weeks” and omitted that even when the Change

Platform came back online, it would not be fully operational, and that several Services

would not be available at all.

       116.      On March 7, 2024, UHG published a press release addressing the “Timeline

to Restore Change Healthcare Systems.” 106 The press release stated that “[a]ssuming we

continue at our current rate of progress, we expect our key system functionality to be

restored and available on the following timelines: . . . Medical claims: We expect to begin


105
    UnitedHealth Says ‘BlackCat’ Ransomware Group Behind Hack at Tech Unit, Reuters (Feb.
29, 2024), https://www.reuters.com/technology/unitedhealth-confirms-blackcat-group-behind-
recent-cyber-security-attack-2024-02-29/ (last visited Jan. 14, 2025) (emphasis added).
106
    Press Release, UnitedHealth Group, UnitedHealth Group Update on Change Healthcare
Cyberattack (Mar. 7, 2024), https://www.unitedhealthgroup.com/newsroom/2024/2024-03-07-
uhg-update-change-healthcare-cyberattack.html (last visited Jan. 14, 2025).


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testing and reestablish connectivity to our claims network and software on March 18,

restoring service through that week.” 107 UHG claimed that all major pharmacy claims and

payment systems were back up and functioning and that UHG had taken action to make

sure patients could access their medicines. 108

       117.   Discovery will show that as of March 7, Change Health Defendants knew

that many users of the Change Platform, including both insurers and providers, would not

have “key system functionality” restored by the week of March 18. Despite this knowledge,

Change Health Defendants misleadingly stated the Change Platform would be restored on

March 18 and the following week, omitted that it would take much longer to get all users

of the platform reconnected, and omitted that even when the Change Platform came back

online, it would not be fully operational and several Services would not be available at all.

Change Health Defendants further failed to later update and correct these misleading

statements regarding medical claims functionality despite having a duty to do so after

choosing to make statements on the topic.

       118.   Change Health Defendants’ statements regarding pharmacies were also false.

In his May 1, 2024, testimony before both the House Energy and Commerce Committee

and the Senate Finance Committee, Witty acknowledged that it was not until late April

2024 that pharmacy claims Services had been restored to near full pre-breach levels and

that some pharmacies still had not had their capacity to utilize claims Services restored. 109


107
    Id. (emphasis added)
108
    Id.
109
     Witty Response to Questions for the Record, Senate Finance Committee (May 1, 2024),



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       119.    Also on April 22, 2024, two months after the Ransomware Attack, Change

Health Defendants stated in a press release that “[m]edical claims across the U.S. health

system are now flowing at near-normal levels as systems come back online or providers

switch to other methods of submission. Change Healthcare realizes there are a small

number of providers who continue to be adversely impacted.” 110 Change Health

Defendants further admitted payment processing was still only at “86% of pre-incident

levels,” and other Services, such as eligibility software, were still in the process of “being

restored on a rolling basis.” 111

       120.    Change Health Defendants’ April 22, 2024 statements were false and

misleading, and omitted critical facts, as to the true state of the Change Platform.

       121.    For example, on April 29, 2024, the AMA released the results of a survey of

physician practices on the continuing impacts of the Ransomware Attack and shutdown

taken between April 19 and April 24, 2024. 112 The survey revealed that 60% continued to

face challenges in verifying patient eligibility; 75% still faced barriers with claim

submission; 79% still could not receive ERAs; and 85% continued to experience

disruptions in claim payments. 113



https://www.finance.senate.gov/imo/media/doc/responses_for_questions_for_the_record_to_and
rew_witty.pdf at 28 (last accessed Jan. 14, 2025).
110
    UnitedHealth Group Updates on Change Healthcare Cyberattack, UnitedHealth Group (Apr.
22, 2024), https://www.unitedhealthgroup.com/newsroom/2024/2024-04-22-uhg-updates-on-
change-healthcare-cyberattack.html (last accessed Jan. 14, 2025) (emphasis added).
111
    Id.
112
     Change Healthcare cyberattack impact, AM. MED. ASS’N, at 1 (April 29, 2024),
https://www.ama-assn.org/system/files/change-healthcare-follow-up-survey-results.pdf   (last
accessed Jan. 14, 2025).
113
    Id. at 1.


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        122.   The AMA survey responses indicated the additional harm Change Health

Defendants’ misleading statements and omission had on Providers, with one survey

respondent stating:

               We are still not able to send electronic claims, yet Medicare
               and other insurances are saying to bill electronically because
               Change is back online, when the platform we use will not be
               online for months. 114

This statement indicates that insures and government payers relied on Change Health

Defendants’ false and misleading statements and omissions regarding the restoration of the

Change Platform to Providers’ detriment.

        123.   The AMA survey responses also revealed that 84% of surveyed physician

practices “indicated that they are not receiving information, or are receiving inaccurate

information, regarding service restoration from [Change Health Defendants].” 115

        124.   The continued adverse impact is reflected in online forums created by

Providers to try to help and support each other following the Ransomware Attack. For

example, in a June 6, 2024, Reddit post titled “Change/Optum healthcare claims processing

STILL down” various Providers discussed the reality that claims processing continued “to

be down for three plus months for multiple practices throughout the country. No end in

sight.” 116




114
    Id.
115
    Id. at 2.
116
     Change/Optum healthcare claims processing STILL down, Reddit (June 6, 2024),
https://www.reddit.com/r/CodingandBilling/comments/1da0em9/changeoptum_healthcare_claim
s_processing_still/ (last visited Jan. 14, 2025).


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       125.     Publicly available facts show the restoration was still not complete nearly six

months after the Ransomware Attack and shutdown. For example, on August 8, 2024, Blue

Cross Blue Shield of Massachusetts stated that it reconnected to Change Platform for some,

but not all, functionality. Specifically, it reported it had restored connectivity to the Change

clearinghouse but was still working to process ERAs that had been held during the

shutdown. 117

       126.     Moreover, on or around November 21, 2024, nine months after the

Ransomware Attack and shutdown, Change reported it had purportedly “complete[d]

restoration of its clearinghouse services.” 118 Even then, Change was only offering “partial

service” for some Services.

       127.     Even today, Providers who changed to new clearinghouses are unable to

access ERAs from Change.

       128.     Change Health Defendants’ misleading statements and omissions, which

were widely covered in the media and reported to and relied on by Providers, prevented



117
    Change Healthcare Event, Provider Center, Blue Cross Blue Shield of Massachusetts (last
updated                          Aug.                      8,                        2024),
https://provider.bluecrossma.com/ProviderHome/portal/home/ChangeHealthcareEvent/!ut/p/z1/l
ZBNC4JAEIZ_jdedcU3dumkHSw0jEG0voWJqqCtq-
vezTgnSxzCXged5YV7gEAKvo6HIor4QdVRO95lrlx3db2WHoWcxT0Ht4DLdto_UclQIXgDO
xkDzRE0F0fIo8P_996Tf_A8A_xwfAF9A5h98y7CBF3FFxqQiSDR9xWRGp12jRlXlWaFRxwr
LgLfpNW3Tltzbqdm875tuI6GE4ziSTIisTEkiKgmXlFx0PYRzEprK90O8qeXgGg9eKXnH/dz/d
5/L2dBISEvZ0FBIS9nQSEh/?ICID=chc_outage (last visited Jan. 14, 2025).
118
    Thomas Brown, Change Healthcare’s Clearinghouse Services Available Now After the
February       Ransomware       Attack,   Compliance     Home      (Nov.     22,     2024)
https://www.compliancehome.com/change-healthcares-clearinghouse-services-available-now-
after-the-february-ransomware-
attack/#:~:text=Change%20Healthcare%20has%20reported%20the,of%20Amedisys%20by%20
UnitedHealth%20Group (last accessed Jan. 14, 2025).


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Providers, insurers, and EHR vendors from making informed decisions during the

shutdown. For example, had Change Health Defendants disseminated accurate and

complete information about how long it would take to restore the functionality of the

Change Platform, Providers could have made informed decisions about obtaining

financing, investing the resources to switch to alternative clearinghouses, obtaining

resources to submit paper claims, negotiating Timely Filing Deadlines, obtaining

alternative financing, and keeping employees on payroll.

       129.    The full impact of the Ransomware Attack on Providers is enormous and not

yet fully known, and its effects are currently being felt by Providers nationwide.

       c.      UHG financially benefitted from the Ransomware Attack and
               shutdown.

       130.    Amidst all the harm Change Health Defendants’ conduct inflicted upon the

healthcare system and Providers specifically, UHG acknowledged that it experienced

certain positive financial impacts resulting from the Ransomware Attack.

       131.    For example, on April 16, 2024, UHG reported that the business disruptions

caused by the Ransomware Attack had a positive $48 million tax effect, with an estimated

benefit of $70 to $90 million in year-end impact. 119 UHG estimated the total tax effect of

the Ransomware Attack was $189 million for the first quarter with a $305 million to $375

million total tax effect by year end. 120




119
    UnitedHealth Group Inc. First Quarter 2024 Results, UnitedHealth Group (Apr. 16, 2024),
https://www.unitedhealthgroup.com/content/dam/UHG/PDF/investors/2024/UNH-Q1-2024-
Release.pdf at 19 (last accessed Jan. 14, 2025).
120
    Id.


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       132.   On July 16, 2024, UHG reported the total estimated tax effect of the

Ransomware Attack was $252 million for the second quarter with an estimated $515

million to $560 million total tax effect by year end. 121 UHG estimated the total tax effect

of the direct response as a result of the Data Breach was $182 million for the second quarter

and $323 million for the first two quarters combined. 122

       133.   These positive tax benefits comport with UHG’s representations to the SEC

that “the Company has not determined the incident is reasonably likely to materially impact

the Company’s financial condition….” 123

       134.   Much of the positive financial impact of the Ransomware Attack and

shutdown for UHG is attributable to UHIC, UHG’s health insurance company. During the

shutdown, UHIC, like many other insurers, did not experience a dip in income because

members were still paying premiums. UHIC and other insurers, however, were not paying

Providers for the medical services members received during the shutdown because

Providers were unable to submit claims. Instead of paying out that money owed to

Providers, UHIC and other insurers held those millions (if not billions) of dollars in their

cash reserves, earning interest at a time when interest rates were at recent highs.




121
    UnitedHealth Group Inc. Second Quarter 2024 Results, UnitedHealth Group (Jul. 16, 2024),
https://www.unitedhealthgroup.com/content/dam/UHG/PDF/investors/2024/UNH-Q2-2024-
Release.pdf at 16 (last accessed Jan. 14, 2025).
122
    Id. at 17.
123
      UnitedHealth Group Incorporated, Form 8-K (Feb. 21, 2024), available at
https://www.sec.gov/Archives/edgar/data/731766/000073176624000045/unh-20240221.htm
(last accessed Jan. 14, 2025).


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      135.   Moreover, UHIC has aggressively enforced Timely Filing Deadlines for

claims that could not be submitted because of the shutdown, permanently denying payment

to struggling Providers while enriching UHG.

      d.     Defendants’ Temporary Funding Assistance Program was inadequate,
             and Defendants are prematurely demanding providers repay the loans.

      136.   Following the shutdown, Defendants established the TFAP loan program

administered by the Optum Financial Defendants to provide interest-free and fee-free loans

to eligible Providers affected by the Ransomware Attack and shutdown, which Providers

would then repay once they recovered from the financial strain imposed by the shutdown.

      137.   TFAP was launched on March 1, 2024, following Congressional hearings

and criticism of Change Health Defendants’ response to the Ransomware Attack and

shutdown.

      138.   Providers could submit an inquiry form within an online portal created for

TFAP, and, if deemed eligible, they could then log into their Optum Pay account to view

their organization’s funding amount and from there request and accept the funds that would

be deposited to the bank account on file in Optum Pay.

      139.   The Provider would then receive TFAP funds in weekly allotments, if it so

requested.

      140.   The Optum Pay online portal allowed Providers to view past loan payments

and repayment status, and to submit repayments.

      141.   At first Providers were offered small loans that did not come close to bridging

the gap in payments left in the wake of the shutdown. However, Defendants later increased



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the loan amounts available to Providers and many Providers utilized the Program to help

offset the amounts in funding they would have to obtain from other sources in order to

remain afloat during the prolonged shutdown.

       142.   At the May 1, 2024, Congressional Hearing, Witty discussed UHG’s TFAP,

explaining that Providers had 45 business days following the resumption of claims

processing to repay any zero interest loans advanced to Providers as a result of the

Ransomware Attack. 124 Witty confirmed that UHG had “no intention of asking for

repayment until providers determine their business is back to normal.” 125

       143.   The TFAP Agreements were made between Providers and Change

Healthcare Operations, LLC. As updated on March 15, 2024, under section 5(a), the

Agreement states:

              Recipient agrees to pay the total Funding Amount disbursed to
              Recipient in full within forty-five (45) business days of
              receiving notice that the Funding Amount is due (“Repayment
              Date”). CHC will send notice to the Recipient that the Funding
              Amount is due after claims processing and or/payment
              processing services have resumed and payments impacted
              during the service disruption period are being processed. In the
              event of a failure to repay CHC the full Funding Amount due
              on the Repayment Date, CHC may seek repayment as outlined
              in Section 5(b).




124
    Responses to Questions for the Record for Andrew Witty, U.S. Senate Committee on Finance,
Full       Committee     Hearing,      at    14    (May      1,     2024),   available     at
https://www.finance.senate.gov/imo/media/doc/responses_for_questions_for_the_record_to_and
rew_witty.pdf (last accessed Jan. 14, 2025).
125
    Id. at 34.


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       144.   Despite this agreement, Defendants have demanded repayment before

payments impacted during the service disruption period have been processed and claims

deemed untimely may never be paid or processed.

       145.   As of October 24, 2024, the Optum Financial Defendants had disbursed $8.9

billion in loans to Providers through the TFAP and had recovered $3.2 billion in

repayments.

VI.    Change Health Defendants Are Responsible for the Ransomware Attack and
       Shutdown

       a.     Change Health Defendants knew of the acute risk of ransomware
              attacks for businesses in the healthcare industry.

       146.   Change Health Defendants’ data security obligations were particularly

important given the substantial increase in Ransomware Attacks targeting healthcare

entities that collect and store Private Information preceding the date of the Attack.

       147.   The increased risk to healthcare entities was known and obvious to Change

Health Defendants as they observed frequent public announcements of ransomware attacks

affecting healthcare providers and knew that information of the type they collect, maintain,

and store is highly coveted and a frequent target of cybercriminals.

       148.   There have been recent high profile cybersecurity incidents at other

healthcare partner and provider companies, including ESO Solutions, Inc. (2.7 million

patients, September 2023), HCA Healthcare (11 million patients, July 2023), HealthEC

LLC (4 million patients, July 2023), Prospect Medical Holdings, Inc. (1.3 million patients,

July-August 2023), Managed Care of North America (8 million patients, March 2023),

PharMerica Corporation (5 million patients, March 2023), Florida Orthopedic Institute


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(640,000 patients, July 2020), Elite Emergency Physicians (550,000 patients, June 2020),

Magellan Health (365,000 patients, April 2020), BJC Health System (286,876 patients,

March 2020), American Medical Collection Agency (25 million patients, March 2019),

Oregon Department of Human Services (645,000 patients, March 2019), University of

Washington Medicine (974,000 patients, December 2018), and Wolverine Solutions Group

(600,000 patients, September 2018).

        149.   According to the HIPAA Journal’s 2023 Healthcare Ransomware Attack

Report, “[a]n unwanted record was set in 2023 with 725 large security breaches in

healthcare reported to the Department of Health and Human Services (HHS) Office for

Civil Rights (OCR), beating the record of 720 healthcare security breaches set the previous

year.” 126

        150.   In addition, the Identity Theft Resource Center (“ITRC”) set a new record

for the number of data compromises tracked in a year, up 72% from the previous all-time

high in 2021 (1,860). 127

        151.   Further, in Change Healthcare’s 2022 Form 10-K disclosures, it

acknowledged the broad range of risks that are attributed to its field of business and its own

company specifically. Change Healthcare claimed that:




126
    Steve Adler, Security Breaches in Healthcare in 2023, The HIPAA Journal (Jan. 31, 2024),
https://www.hipaajournal.com/wp-
content/uploads/2024/01/Security_Breaches_In_Healthcare_in_2023_by_The_HIPAA_Journal.p
df (last accessed Jan. 14, 2025).
127
    ITRC Data Breach Report 2023, ITRC (2023), https://www.idtheftcenter.org/publication/2023-
data-breach-report/ (last accessed Jan. 14, 2025).


                                             46
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          a. Its Services “involve the use and disclosure of personal and business

             information that could be used to impersonate third parties or otherwise gain

             access to their data or funds. If any of our employees or vendors or other bad

             actors takes, converts, or misuses such funds, documents or information, or

             we experience a data breach creating a risk of identity theft, we could be

             liable for damages, and our reputation could be damaged or destroyed;” 128

          b. It could “be perceived to have facilitated or participated in illegal

             misappropriation of funds, documents or data and, therefore, be subject to

             civil or criminal liability. Federal and state regulators may take the position

             that a data breach or misdirection of data constitutes an unfair or deceptive

             act or trade practice;” 129

          c. “Despite [its] security management efforts […] [its] infrastructure, data or

             other operation centers and systems used in connection with [its] business

             operations, including the internet and related systems of [its] vendors . . . are

             vulnerable to, and may experience, unauthorized access to data and/or

             breaches of confidential information due to criminal conduct;” 130 and

          d. “[Its] products and services involve processing personal information. Like

             many organizations, [the UHG companies] have been and expect to routinely




128
        Change Healthcare, 2022 Form 10-K (May 26, 2022),                       available   at
https://www.sec.gov/Archives/edgar/data/1756497/000175649722000007/chng-
20220331x10k.htm (last accessed Jan. 14, 2025).
129
    Id.
130
    Id.


                                             47
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              be the target of attempted cyber and other security threats by outside third

              parties, including technologically sophisticated and well-resourced bad

              actors attempting to access or steal the data [they] store.” 131

       152.   In UHG’s SEC Form 10-K disclosures for the fiscal year ended December

31, 2023, which also analyzed and disclosed risks associated with Optum Insight, UHG

and Optum Insight recognized that: 132

          a. “If we or third parties we rely on sustain cyber-attacks or other privacy or

              data security incidents resulting in disruption to our operations or the

              disclosure of protected personal information or proprietary or confidential

              information, we could suffer a loss of revenue and increased costs, negative

              operational affects, exposure to significant liability, reputational harm and

              other serious negative consequences.”

          b. “We are regularly the target of attempted cyber-attacks and other security

              threats and have previously been, and may in the future be, subject to

              compromises of the information technology systems we use, information we

              hold, or information held on our behalf by third parties.”

          c. “Threat actors and hackers have previously been, and may in the future be,

              able to negatively affect our operations by penetrating our security controls

              and causing system and operational disruptions or shutdowns, accessing,


131
   Id.
132
     UnitedHealth Group Incorporated, 2023 Form 10-K (Feb. 28, 2024), available at
https://www.unitedhealthgroup.com/content/dam/UHG/PDF/investors/2023/UNH-Q4-2023-
Form-10-K.pdf (last accessed Jan. 14, 2025).


                                              48
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             misappropriating or otherwise compromising protected personal information

             or proprietary or confidential information or that of third parties, and

             developing and deploying viruses, ransomware and other malware that can

             attack our systems, exploit any security vulnerabilities, and disrupt or

             shutdown our systems and operations.”

          d. “There have previously been and may be in the future heightened

             vulnerabilities due to the lack of physical supervision and on-site

             infrastructure for remote workforce operations and for recently-acquired or

             non-integrated businesses. We rely in some circumstances on third-party

             vendors to process, store and transmit large amounts of data for our business

             whose operations are subject to similar risks.”

          e. “[C]ompromises of our security measures or the unauthorized dissemination

             of sensitive personal information, proprietary information or confidential

             information about us, our customers or other third parties, previously and in

             the future, could expose us or them to the risk of financial or medical identity

             theft, negative operational affects, expose us or them to a risk of loss or

             misuse of this information, result in litigation and liability, including

             regulatory penalties, for us, damage our brand and reputation, or otherwise

             harm our business.”

      153.   Moreover, prior to the Ransomware Attack, government agencies and

cybersecurity researchers provided repeated warnings to healthcare entities of the threat

posed by ALPHV.


                                            49
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          b.     Change Health Defendants had duties to protect Private Information.

          154.   Change Health Defendants are covered by HIPAA (see 45 C.F.R. § 160.102)

and, as such, are required to comply with the HIPAA Privacy Rule and Security Rule, 45

C.F.R. Part 160 and Part 164, Subparts A and E (“Standards for Privacy of Individually

Identifiable Health Information”), and Security Rule (“Security Standards for the

Protection of Electronic Protected Health Information”), 45 C.F.R. Part 160 and Part 164,

Subparts A and C.

          155.   These rules establish national standards for the protection of patient

information, defined as “individually identifiable health information” which either

“identifies the individual” or where there is a “reasonable basis to believe the information

can be used to identify the individual,” that is held or transmitted by a healthcare provider.

45 C.F.R. § 160.103.

          156.   HIPAA limits the permissible uses of “protected health information” and

prohibits unauthorized disclosures of “protected health information.” 133

          157.   HIPAA requires that Change Health Defendants implement appropriate

safeguards for this information. 134

          158.   HIPAA requires that covered entities provide notice of a breach of

“unsecured” protected health information. “Unsecured” protected health information




133
      45 C.F.R. § 164.502.
134
      45 C.F.R. § 164.530(c)(1).


                                             50
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means protected health information that is not rendered unusable, unreadable, or

indecipherable to unauthorized persons—i.e., non-encrypted data. 135

       159.   In addition to HIPAA, federal agencies have issued recommendations and

guidelines to help minimize the risks of a ransomware attack for businesses holding Private

Information. For example, the Federal Trade Commission (FTC) has issued numerous

guides for businesses highlighting the importance of reasonable data security practices,

which should be factored into all business-related decision making. 136

       160.   The FTC’s publication Protecting Personal Information: A Guide for

Business sets forth fundamental data security principles and practices for businesses to

implement and follow as a means to protect sensitive data. 137 Among other things, the

guidelines state that businesses should (a) protect the personal customer information that

they collect and store; (b) properly dispose of personal information that is no longer

needed; (c) encrypt information stored on their computer networks; (d) understand their

network’s vulnerabilities; and (e) implement policies to correct security problems. The

FTC guidelines further recommend that businesses use an intrusion detection system,

monitor all incoming traffic for unusual activity, monitor for large amounts of data being

transmitted from their system, and have a response plan ready in the event of a breach. 138




135
    45 C.F.R. § 164.404; 45 C.F.R. § 164.402.
136
        Start   with     Security,    FTC,     https://www.ftc.gov/system/files/documents/plain-
language/pdf0205-startwithsecurity.pdf (last accessed Jan. 14, 2025).
137
      Protecting Personal Information, A Guide for Business, FTC, available at
https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-
information.pdf (last accessed Jan. 14, 2025).
138
    Id.


                                              51
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       161.   Additionally, the FTC recommends that companies limit access to sensitive

data, require complex passwords to be used on networks, use industry-tested methods for

security, monitor for suspicious activity on the network, and verify that third-party service

providers have implemented reasonable security measures. 139 This is consistent with

guidance provided by the FBI, HHS, and the principles set forth in the Cybersecurity and

Infrastructure Security Agency (“CISA”) 2020 guidance.

       162.   The FTC has brought enforcement actions against businesses for failing to

reasonably protect customer information, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data

as an unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act,

15 U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses

must take to meet their data security obligations. 140

       163.   Given the amount and sensitive nature of Private Information they store,

Change Health Defendants recognize and have previously acknowledged their duty to

comply with the legal requirements set forth in HIPAA and other regulations to protect

health information received and/or collected via their clearinghouse networks. 141




139
        Start   with    Security,   A    Guide     for    Business,    FTC,      available    at
https://www.ftc.gov/system/files/documents/plain-language/pdf0205-startwithsecurity.pdf (last
accessed Jan. 14, 2025).
140
      Privacy and Security Enforcement, FTC, https://www.ftc.gov/news-events/media-
resources/protecting-consumer-privacy/privacy-security-enforcement (last visited Jan. 14, 2025).
141
    U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Proposed
Findings of Fact and Conclusions of Law, ECF No. 121 at 44, 62 (D.D.C. Sept. 7, 2022).


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       c.      Change Health Defendants represented that they adequately protected
               Private Information.

       164.    Change Health Defendants promise patients, Providers, and payers that they

will keep sensitive patient data secure.

       165.    In its contracts with Providers, Change broadly represented that it would

“retain in confidence and not disclose” “any and all confidential or proprietary information

and materials” of the providers. 142 And with respect to PHI governed by HIPAA, Change

specifically promised Providers that Change would “comply with federal and state laws

regarding the protection of PHI as defined by HIPAA” 143 and “implement and maintain

appropriate administrative, physical, and technical safeguards” to comply with the HIPAA

Security Rule (45 C.F.R. Part 160 and Part 164, Subparts A and C) and to “prevent Use or

Disclosure of [electronic PHI] other than as provided for by” Change’s contracts with

providers. 144 Change further told Providers that, if there were a data breach, it would report

it to the Providers “without unreasonable delay” and in fewer than 14 days after discovery

of a data breach. 145

       166.    On its websites, Change also assures Providers that it has various processes

and policies in place to protect their clients’ and patients’ sensitive information: “Keeping

our customers’ information secure is a top priority for Change Healthcare. We dedicate




142
     Change Healthcare Provider Complete Customer Agreement, ComplexCorp.Customer
Agreement (version 01.2022), Section 6.2.
143
    Id., Schedule B, Business Associate Agreement, Section 8.
144
    Id., Schedule B, Business Associate Agreement, Section 3.1.
145
    Id., Schedule B, Business Associate Agreement, Section 3.2.


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extensive resources to make sure personal medical and financial information is secure and

we strive to build a company culture that reinforces trust at every opportunity.” 146

        167.       Optum Insight’s contracts with health insurers further require the company

to protect customers’ data, including PHI, and to “use all ‘reasonable commercial means’”

to do so. 147

        168.       As part of the merger with Change, UHG made “binding commitments” to

customers to apply and maintain data security policies to protect customers’ data “and to

uphold all contractual rights of Change’s customers to audit the protection and security of

their data.” 148

        169.       Given the extensive amount and sensitive nature of the data they handle,

Change Health Defendants maintain privacy policies outlining the usage and disclosure of

confidential and personal information.

        170.       Change’s Global Privacy Notice represented that “Privacy matters to Change

Healthcare, so we follow a privacy framework that helps us to manage and protect your

personal information.” 149 Change further represented that it implemented and maintained

“security measures designed to safeguard the data we process against unauthorized access”




146
    Accreditations & Certifications, Change Healthcare, Sept. 20, 2021
(https://www.changehealthcare.com/accreditations-certifications) Internet Archive
(https://web.archive.org/web/20240917185643/https://www.changehealthcare.com/accreditations
-certifications).
147
    U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Proposed
Findings of Fact and Conclusions of Law, ECF No. 121 at 31 (D.D.C. Sept. 7, 2022).
148
    Id. at 107-108.
149
        Privacy     Notice,    Change     Healthcare     (Effective    Date:     Dec.   2023),
https://www.changehealthcare.com/privacy-notice.html (last visited Jan. 15, 2025).


                                                54
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such that “Your Personal Information is only accessible to personnel who need to access

it.” 150

           171.   Likewise, Change represents in its Code of Conduct 151 that:

                     a. “We exercise care and discretion when handling [restricted and

                        confidential] information.”

                     b. “We collect, store, access, use, share, transfer, and dispose of

                        [personally identifiable information] responsibly.”

                     c. “We also respect and protect the sensitive nature of [protected health

                        information] and carefully maintain its confidentiality.”

                     d. “We earn the trust of our team members and the companies with

                        which we do business by following our privacy, security, and data and

                        information protection policies.”

                     e. “We also regularly monitor our systems to be sure that information is

                        accessed and used for appropriate, authorized activities, to discover

                        any new threats, and to look for ways to improve.”

                     f. “We monitor and control all electronic and computing devices used

                        … to interact with our internal networks and systems.”

           172.   Hence, Change recognizes that its customers (i.e., Providers) and those they

service have placed their trust in Change to protect the confidentiality and privacy of their


150
    Id. The Notice also defines “your” as used here to include the patients and consumers of the
entity payer and provider customers for which it is a HIPAA business associate.
151
      Change Healthcare, Our Code of Conduct, Change Healthcare, at 15-17,
https://codeofconduct.changehealthcare.com/ (last accessed Jan. 15, 2025).


                                                55
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data and “the consequences of betraying the trust of its customers…would be

catastrophic.” 152 Change is responsible to all those who place their trust in it to maintain

data security, including the patients and consumers who are ultimately served by its Change

Platform and Services.

       173.   UHG and Optum Insight adhere to the same “Privacy Policy,” which assures

the   public—including      patients   and     providers—that   they   have    implemented

“organizational, technical, and administrative security measures” to safeguard patients’

information. Their “Social Security Number Protection Policy” explicitly states their

commitment to preserving the confidentiality of Social Security numbers received or

collected during business operations. UHG and Optum Insight also pledge to limit access

to Social Security numbers to lawful purposes and to prohibit unlawful disclosure. Change

similarly assures that it implements and maintains security measures—organizational,

technical, and administrative—to protect processed data from unauthorized access,

destruction, loss, alteration, or misuse. These measures aim to uphold the integrity and

confidentiality of data, including personal information. 153

       174.   Change Health Defendants represent to the public that these are not mere

words or policies. Optum Insight’s Chief Operating Officer has testified that the company’s




152
    U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., 1:22-cv-481, Def.’s Proposed
Findings of Fact and Conclusions of Law, ECF No. 121 at 66 (D.D.C. Sept. 7, 2022) (internal
quotations omitted).
153
    Privacy Notice, Change Healthcare, https://www.changehealthcare.com/privacy-notice (last
visited Jan. 15, 2025).


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culture is to “treat customers’ data as they would treat their data themselves.” 154 Change

Health Defendants represented, under oath, that they had built a top down “culture of trust

and integrity around protecting customers’ sensitive information.” 155

       175.   Given their representations and experience handling highly sensitive Private

Information, Change Health Defendants understood the need and requirements to protect

patients’ Private Information and prioritize data security.

       d.     Change Health Defendants failed to comply with federal law and
              regulatory guidance to prevent the Data Breach and shutdown.

       176.   During a Senate hearing regarding the Ransomware Attack, Senator Wyden

said, “the attack could have been stopped with ‘Cybersecurity 101.’” 156 Senator Thom

Tillis further confirmed the preventability of this Ransomware Attack. Waiving a

paperback copy of “Hacking for Dummies,” Senator Tillis emphasized that “[t]his is some

basic stuff that was missed, so shame on internal audit, external audit and your systems

folks tasked with redundancy, they’re not doing their job.” 157




154
    U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., No. 1:22-cv-481, Post-Trial
Memorandum Opinion, ECF No. 138 at 40 (D.D.C. Sept. 21, 2022) (internal quotations omitted).
155
    U.S. v. UnitedHealth Group Inc., and Change Healthcare Inc., No. 1:22-cv-481, Def.’s
Proposed Findings of Fact and Conclusions of Law, ECF No. 121 at 30 (D.D.C. Sept. 7, 2022).
156
    Pietje Kobus, UnitedHealth CEO Testifies on Cyberattack Before Senate, Healthcare
Innovation                          (May                         2,                     2024),
https://www.hcinnovationgroup.com/cybersecurity/news/55036427/unitedhealth-ceo-testifies-
on-cyberattack-before-senate (last accessed Jan. 14, 2025).
157
    UnitedHealth CEO Testifies Before Senate on Cyber Attack Against Change Healthcare, C-
SPAN (April 30, 2024) at 01:13:42, available at https://www.c-span.org/program/public-affairs-
event/unitedhealth-ceo-testifies-before-senate-on-cyber-attack-against-change-
healthcare/641625?535259/unitedhealth-ceo-testifies-change-healthcare-cyber-attack-senate (last
accessed Jan. 14, 2025).


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      177.   Despite the foreseeability of the Ransomware Attack, this cyber disaster

occurred because, as CEO Witty highlighted, Change employed outdated technology and

UHG, UHCS, and Optum Insight failed to promptly fix Change’s problems when UHG

acquired Change Healthcare in October 2022.

      178.   Change Health Defendants’ cybersecurity practices and policies were

inadequate and fell short of the industry-standard measures that should have been

implemented long before the Ransomware Attack occurred.

      179.   By marketing and advertising the Change Platform as a reliable, HIPAA-

compliant solution for Providers and insurers handling highly sensitive Private

Information, the Change Health Defendants assumed legal and equitable duties. The

Change Health Defendants knew or should have known they were responsible for:

         a. adequately designing, maintaining, and updating their software and

             networks;

         b. promptly detecting, remediating, and notifying Providers and those they

             serve of any critical vulnerabilities in their software and networks;


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          c. ensuring compliance with industry standards related to data security;

          d. ensuring compliance with regulatory requirements related to data security;

          e. protecting and securing the Private Information stored on their networks

              from unauthorized disclosure; and

          f. providing adequate notice to Providers and patients if patient Private

              Information is disclosed without authorization.

       180.   Change Health Defendants failed to use the requisite degree of care that a

reasonably prudent company would use in designing, developing, and maintaining

networks that perform a critical function in the healthcare system and store highly sensitive

Private Information.

       181.   Despite their representations that the Change Platform complied with the

requirements under HIPAA for data security, Change Health Defendants failed to:

          a. Implement adequate procedures to verify that a person or entity seeking

              access to electronic PHI is the one claimed, in violation of 45 C.F.R. § 164(c).

          b. Train all members of their workforces effectively on the policies and

              procedures with respect to protected health information as necessary and

              appropriate for the members of their workforces to carry out their functions

              and to maintain security of Private Information, in violation of 45 C.F.R. §

              164.530(b).

          c. Implement a data security system that complied with the minimum necessary

              standard or principle of least privilege, thereby adequately limiting access to

              Private Information, in violation of 45 CFR §§ 164.502(b), 164.514(d).


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          d. Implement technical policies and procedures for electronic information

             systems that separate or segment data so that their systems allow access to

             Private Information only by those persons or software programs that have

             been granted access rights to, in violation of 45 C.F.R. § 164.312(a)(1).

          e. Implement data security practices and procedures that adequately monitor

             network activity, such as reviewing records of information system activity

             regularly, including audit logs, access reports, and security incident tracking

             reports (45 C.F.R. § 164.308(a)(1)(ii)(D)), thereby preventing, detecting,

             containing, and correcting security violations, in violation of 45 C.F.R. §

             164.308(a)(1)(i).

          f. Ensure the confidentiality and integrity of electronically protected health

             information created, received, maintained, or transmitted, in violation of 45

             C.F.R. § 164.306(a)(1).

          g. Protect against reasonably anticipated uses or disclosures of electronic

             protected health information that are not permitted under the privacy rules

             regarding individually identifiable health information, in violation of 45

             C.F.R. § 164.306(a)(3).

          h. Ensure compliance with the electronically protected health information

             security standard rules by their workforces, in violation of 45 C.F.R. §

             164.306(a)(4).

      182.   Change Health Defendants failed to implement each of the industry standard

security protocols outlined below.


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                    i.   Change Health Defendants failed to implement multi-factor
                         authentication for remote access to its servers.

       183.   Use of stolen credentials has long been the most popular and effective

method of gaining authorized access to a company’s internal networks. As a result, it is

well-established that companies should take precautions to prevent attacks using stolen

user credentials.

       184.   According to the FBI, phishing schemes designed to induce individuals to

reveal personal information, such as network passwords, were the most common type of

cybercrime in 2020, with such incidents nearly doubling in frequency between 2019 and

2020. 158 According to Verizon’s 2021 Ransomware Attack Investigations Report, 43% of

breaches stemmed from phishing and/or pretexting schemes. 159

       185.   The risk is so prevalent for healthcare Providers that on October 28, 2020,

the FBI and two federal agencies issued a “Joint Cybersecurity Advisory” warning that

they have “credible information of an increased and imminent cybercrime threat to U.S.

hospitals and healthcare providers.” 160




158
      2020 Internet Crime Report, FBI Internet Complaint Center, available at
https://www.ic3.gov/Media/PDF/AnnualReport/2020_IC3Report.pdf (last accessed Jan. 14,
2025).
159
                2021              DBIR             Master’s        Guide,             Verizon,
https://www.verizon.com/business/resources/reports/dbir/2021/masters-guide/ (subscription
required) (last visited July 16, 2024).
160
    Ransomware Activity Targeting the Healthcare and Public Health Sector, Joint Security
Advisory, Cybersecurity & Infrastructure Security Agency, FBI/U.S. Dept. of Justice, and U.S.
Dept. of Health & Human Services (Updated Oct. 29, 2020), available at
https://www.cisa.gov/sites/default/files/publications/AA20-
302A_Ransomware%20_Activity_Targeting_the_Healthcare_and_Public_Health_Sector.pdf
(last accessed Jan. 14, 2025).


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       186.   Despite the apparent risk that a user’s credentials could be compromised,

Change Health Defendants failed to take reasonable steps to authenticate Change users.

       187.   In this context, “authentication” refers to steps a company can take which go

beyond requiring the user to merely provide login name and password, namely steps which

ensure that the person using the login and password is the person to whom the name and

password were assigned. These steps can take the form of requiring the user to respond to

a message on their phone, to physically toggle a device attached to their computer, to

provide a fingerprint or other biometric information, to answer a phone call to their cell

phone, or to take any other number of steps to confirm that the person using the login and

password is authorized to do so.

       188.   Requiring more than just a login and password is referred to as Multifactor

Authentication, or MFA. MFA is “an identity verification method in which a user must

supply at least 2 pieces of evidence, such as their password and a temporary passcode, to

prove their identity.” 161 “For example, to log into an email account, a user might need to

enter both their account password and a single-use passcode the email provider sends to

their mobile phone via text message.” 162 “MFA systems add an extra layer of security by

requiring more than one piece of evidence to confirm a user’s identity. Even if hackers

steal a password, it won’t be enough to gain unauthorized access to a system.” 163




161
      Matthew Kosinski & Amber Forrest, What is MFA?, IBM (Jan. 4, 2024),
https://www.ibm.com/topics/multi-factor-authentication (last accessed Jan. 14, 2025).
162
    Id.
163
    Id.


                                            62
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       189.     At the time of the Ransomware Attack, Change employees could access

Change’s internal networks remotely through third-party Citrix Remote PC Access

software. 164

       190.     Citrix’s “Remote PC Access is a feature of Citrix Virtual Apps and Desktops

that enables organizations to easily allow their employees to access corporate resources

remotely in a secure manner. The Citrix platform makes this secure access possible by

giving users access to their physical office PCs. If users can access their office PCs, they

can access all the applications, data, and resources they need to do their work.” 165

       191.     At the time of the Ransomware Attack, Change Health Defendants’

implementation of Citrix Remote PC Access was not equipped with MFA.

       192.     MFA has existed since the 1980s 166 and has been widely in use since the late

2000s. 167 MFA using biometrics has been widely in use since the early 2010s. 168 MFA “has

become an increasingly important piece of corporate identity and access management

(IAM) strategies. Standard single-factor authentication methods, which rely on usernames


164
    Testimony of Andrew Witty Chief Executive Officer, UnitedHealth Group Before the House
Energy and Commerce Committee Subcomittee on Oversight and Investigations, “Examining the
Change Healthcare Cyberattack,” UnitedHealth Group (May 1, 2024), available at
https://www.congress.gov/118/meeting/house/117242/witnesses/HHRG-118-IF02-Wstate-
WittyS-20240501-U5.pdf (last accessed Jan. 14, 2025).
165
    Remote PC Access, Citrix (Sept. 6, 2024), https://docs.citrix.com/en-us/citrix-virtual-apps-
desktops/install-configure/remote-pc-access.html (last visited Jan. 14, 2025).
166
    Caroline Delbert, History of Online Security, from CAPTCHA to Multi-Factor Authentication,
Beyond Identity (May 31, 2022), https://www.beyondidentity.com/resource/history-of-online-
security-from-captcha-to-multi-factor-authentication (last accessed Jan. 14, 2025).
167
    Rose de Fremery, The Evolution of Multi-Factor Authentication, LastPass (Dec. 22, 2021),
https://blog.lastpass.com/posts/the-evolution-of-multi-factor-authentication (last accessed Jan. 14,
2025).
168
      History of Authentication: From Zero to Hero, ASEE (June 7, 2022),
https://cybersecurity.asee.io/blog/history-of-authentication/ (last accessed Jan. 14, 2025).


                                                63
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and passwords, are easy to break. In fact, compromised credentials are one of the most

common causes of data breaches, according to IBM’s Cost of a Ransomware Attack

report.” 169

        193.   In 2019, both Microsoft and Google publicly reported that using MFA blocks

more than 99% of automated hacks, including most ransomware attacks that occur because

of unauthorized account access. Likewise, the reputable SANS Software Security Institute

issued a paper stating: “[t]ime to implement multi-factor authentication!” 170

        194.   Citrix states on its website that “[i]t’s critical . . . to also implement multi-

factor authentication as a backup in case passwords do become compromised.” 171

        195.   HIPAA further requires covered entities to “[i]mplement procedures to verify

that a person or entity seeking access to electronic protected health information is the one

claimed.” 45 C.F.R. § 164(c). MFA is widely recommended to meet this requirement for

all healthcare applications. 172 The book HIPAA Privacy and Security Compliance –


169
     Matthew Kosinski & Amber Forrest, What is MFA?, IBM (Jan. 4, 2024),
https://www.ibm.com/topics/multi-factor-authentication (last accessed Jan. 14, 2025).
170
    Matt Bromiley, Bye Bye Passwords: New Ways to Authenticate, SANS Software Security Inst.
(July 2019), https://query.prod.cms.rt.microsoft.com/cms/api/am/binary/RE3y9UJ (last accessed
Jan. 14, 2025).
171
    What is single sign-on (SSO)?, Citrix, https://www.citrix.com/glossary/what-is-single-sign-on-
sso.html (last visited Jan. 14, 2025).
172
     Marty Puranik, Two-Factor Authentication: A Top Priority for HIPAA Compliance,
Techopedia (Aug. 25, 2023), https://www.techopedia.com/two-factor-authentication-a-top-
priority-for-hipaa-compliance/2/33761 (last accessed Jan. 14, 2025); Utilizing Two Factor
Authorization, HHS Cybersecurity Program, Office of Information Security, available at
https://www.hhs.gov/sites/default/files/two-factor-authorization.pdf (last accessed Jan. 2, 2025);
Liyanda Tembani, Enhancing HIPAA compliance with multi-factor authentication, Paubox (Aug.
9,      2024),      https://www.paubox.com/blog/enhancing-hipaa-compliance-with-multi-factor-
authentication (last accessed Jan. 14, 2025); Gil Vidals, Multi-Factor Authentication For HIPAA
Compliance: Securing Patient Data In The Digital Age, HIPAAVault (Dec. 6, 2023),



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Simplified: Practical Guide for Healthcare Providers and Managers states “Multi-factor

authentications (MFA) shall be used for remote access, for system administration activities

and for access to critical systems.” 173

       196.   MFA is also required by a number of other industry standards:

                  a. PCI-DSS The Payment Card Industry Data Security Standard requires

                      multi-factor authentication per requirement 8.2. 174

                  b. Service Organization Control 2 (SOC 2), a widely used cybersecurity

                      auditing standard used for a wide range of businesses, requires multi-

                      factor authentication. 175

                  c. ISO 27002 is an international standard that provides guidance for

                      organizations on how to establish, implement, and improve an

                      Information Security Management System. ISO 27002 requires one

                      to either use MFA, digital certificates, smart cards, or biometric

                      login. 176




https://www.hipaavault.com/hipaa-outlook/multi-factor-authentication-for-hipaa-compliance/
(last accessed Jan. 14, 2025).
173
    Robert Brzezinski, HIPAA Privacy and Security Compliance - Simplified: Practical Guide for
Small and Medium Organizations 47 (2016 ed.).
174
     Information Supplement: Multi-Factor Authentication, PCI Security Standards Council
(February 2017), available at https://listings.pcisecuritystandards.org/pdfs/Multi-Factor-
Authentication-Guidance-v1.pdf (last accessed Jan. 14, 2025).
175
    Joe Ciancimino, Comprehensive Guide to SOC 2 Controls List, ISPartners (Nov. 2, 2023),
https://www.ispartnersllc.com/blog/soc-2-controls/ (last accessed Jan. 14, 2025).
176
        ISO     27002:2022.Control     8.5    -Secure       Authentication,     ISMS      Online,
https://www.isms.online/iso-27002/control-8-5-secure-authentication/ (last visited Jan.14, 2025).


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                 d. The Cybersecurity and Infrastructure Security Agency has strongly

                     encouraged all businesses to use MFA for many years. 177

                 e. NIST 800-53 strongly recommends multi-factor authentication

                     beginning on page 132. 178 NIST 800-53 is a cybersecurity framework

                     and compliance standard that can be used by any organization.

       197.   At the time of the Ransomware Attack, Change’s internal networks were

accessible through Citrix Remote PC Access without MFA, meaning that any third party

that obtained a Change employee’s login credentials could access Change’s internal

networks remotely.

       198.   Had Change Health Defendants had an MFA system in place, the

Ransomware Attack and shutdown would have been prevented.

       199.   The failure to have MFA was an explicit violation of Change Health

Defendants’ own policies requiring MFA on all external-facing applications, 179 HIPAA,

and the industry standards described above.




177
    Require Multifactor Authentication, Cybersecurity & Infrastructure Security Agency, U.S.
Dept. of Homeland Security, https://www.cisa.gov/secure-our-world/require-multifactor-
authentication (last visited Jan. 2, 2025).
178
    NIST Special Publication 800-53, Rev. 5, Security and Privacy Controls for Information
Systems and Organizations, Natl. Institute of Standards and Tech., U.S. Dept. of Commerce,
available at https://nvlpubs.nist.gov/nistpubs/SpecialPublications/NIST.SP.800-53r5.pdf (last
accessed Jan. 2, 2025).
179
    Responses to Questions for the Record for Andrew Witty, U.S. Senate Committee on Finance,
Full     Committee         Hearing       (May   1,     2024)      at    1,    available    at
https://www.finance.senate.gov/imo/media/doc/responses_for_questions_for_the_record_to_and
rew_witty.pdf (last accessed Jan. 14, 2025).


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                   ii.   Change Health Defendants failed to apply the principle of least
                         privilege to its systems.

       200.    The principle of least privilege is a cybersecurity concept that states a user

or entity should only be granted the minimum access level needed to perform their required

tasks, meaning they should only have access to the specific data, resources, and

applications necessary to complete their job functions, and nothing more; essentially,

providing the lowest level of privilege possible while still allowing them to do their work.

       201.    CISA and HIPAA require that the principle of least privilege be applied to

all systems. 180

       202.    HIPAA refers to this as the Minimum Necessary Rule. 181, The Minimum

Necessary Rule standard is based on the practice that PHI should not be used or disclosed

when it is not necessary to satisfy a particular purpose or carry out a function. The

Minimum Necessary Rule requires covered entities to evaluate their practices and enhance

safeguards as needed to limit unnecessary or inappropriate access to and disclosure of PHI.




180
    Ransomware Guide September 2020, Cybersecurity & Infrastructure Security Agency, at 7-8,
available             at             https://www.cisa.gov/sites/default/files/2023-01/CISA_MS-
ISAC_Ransomware%20Guide_S508C.pdf (last accessed Jan. 14, 2025).
181
    45 CFR 164.502(b), 164.514(d). See also Steve Alder, The HIPAA Minimum Necessary Rule
Standard, The HIPAA Journal (Dec. 5, 2024), https://www.hipaajournal.com/ahima-hipaa-
minimum-necessary-standard-3481/. See also Minimum Necessary, FAQs, U.S. Dept. of Health
and       Human       Services,       https://www.hhs.gov/hipaa/for-professionals/faq/minimum-
necessary/index.html (last accessed Jan. 2, 2025).


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       203.   Other applicable standards also require least privileges. For example, both

PCI-DSS requirement 7, 182 and NIST 800-53 require least privileges. 183

       204.   During the Ransomware Attack, the cybercriminals were able to use a low-

level employee account to ultimately conduct administrator actions and move laterally

throughout Change’s networks and backup systems.

       205.   This low-level employee account should not have been configured in such a

way as to allow it to create accounts with administrative privileges that could in turn be

used to access and exfiltrate Private Information.

       206.   This low-level employee account should not have been configured in such a

way as to allow it to create accounts with administrative privileges that could in turn be

used to encrypt the Change Platform.

       207.   Change Health Defendants did not adequately follow the principle of least

privilege or the Minimum Necessary Rule.



182
     PCI DSS Quick Reference Guide: Understanding the Payment Card Industry Data Security
Standard version 3.1, PCI Security Standards Council (May 2015), available at
https://listings.pcisecuritystandards.org/documents/PCIDSS_QRGv3_1.pdf (last accessed Jan. 14,
2025); Surkay Baykara, PCI DSS Requirement 7 Explained, PCI DSS Guide (April 7, 2020),
https://pcidssguide.com/pci-dss-requirement-7/ (last accessed Jan. 2, 2025); How to Comply with
PCI DSS Compliance Requirement 7, Indent (Dec. 6, 2023), https://indent.com/blog/pci-dss-
requirement-7 (last accessed Jan. 14, 2025).
183
    Tony Goulding, What you need to know about NIST 800-53, least privilege, and PAM, Delinea,
https://delinea.com/blog/nist-800-53-security-privacy-privileged-access (last accessed Jan. 2,
2025); NIST Special Publication 800-53, Rev. 5, Security and Privacy Controls for Information
Systems and Organizations, Natl. Institute of Standards and Tech., U.S. Dept. of Commerce,
available             at          https://csrc.nist.gov/CSRC/media/Projects/risk-management/800-
53%20Downloads/800-53r5/SP_800-53_v5_1-derived-OSCAL.pdf (last accessed Jan. 2, 2025);
Asif Ali, What you need to know about NIST 800-53, least privilege, and PAM, AuthNull (last
updated Sept. 8, 2024), https://authnull.com/blog/posts/What-you-need-to-know-about-NIST-
800-53,-least-privilege,-and-PAM/ (last accessed Jan. 14, 2025)


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       208.   Had Change Health Defendants adequately implemented policies and

procedures applying the principle of least privilege or the Minimum Necessary Rule, the

Ransomware Attack and shutdown could have been prevented.

               iii.   Change Health Defendants did not properly segment Change’s
                      systems.

       209.   Change Health Defendants should have also properly siloed the systems so

that a bad actor would be unable to escalate privileges and move laterally through Change’s

systems.

       210.   This data security procedure is called segmentation. Data silos are created

when an organization manages different types of data and software separately, without

maintaining a centralized system to share and access information. 184 Each data silo or

segment should have its own security defense mechanisms so that breaching one segment

does not give an attacker access to other segments.

       211.   CISA guidance recommends that using a comprehensive network, in addition

to network segregation, will help contain the impact of an intrusion and prevent or limit

lateral movement on the part of malicious actors. 185




184
    Ransomware Guide September 2020, Cybersecurity & Infrastructure Security Agency, at 7-8,
available             at             https://www.cisa.gov/sites/default/files/2023-01/CISA_MS-
ISAC_Ransomware%20Guide_S508C.pdf (last accessed Jan. 14, 2025); see also Robert Wood,
Why Data Silos Create Cybersecurity Risks and How to Break Them Down, Acceleration Economy
(Feb.     27,    2023),   https://accelerationeconomy.com/cybersecurity/why-data-silos-create-
cybersecurity-risks-and-how-to-break-them-down/# (last accessed Jan. 14, 2025).
185
    Ransomware Guide September 2020, Cybersecurity & Infrastructure Security Agency,
available             at             https://www.cisa.gov/sites/default/files/2023-01/CISA_MS-
ISAC_Ransomware%20Guide_S508C.pdf (last accessed Jan. 14, 2025).


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       212.   During the Ransomware Attack, the cybercriminals were able to access

patients’ Private Information, Change software, Change’s backup systems, and more. The

breadth of access the attackers had demonstrates that Change Health Defendants did not

properly implement network segmentation.

       213.   The lack of segmented systems allowed the hacker to travel among Change’s

systems freely, compromising multiple systems which Change Health Defendants were

unable to recover, and ultimately resulting in the complete shutdown of Change’s

operations.

       214.   Had Change Health Defendants adequately implemented data segmentation,

the Ransomware Attack and shutdown would have been prevented, or would have been

much smaller in scope.

                iv.   Change Health Defendants failed to protect their backup
                      technology and data.

       215.   IT Redundancy helps companies mitigate the effects of a ransomware attack.

IT Redundancy means “[p]rovision of duplicate, backup equipment or links that

immediately take over the function of equipment or transmission lines that fail.” 186 So for

example, if a primary server fails, a backup server can take over, ensuring that patient data

is still accessible and that critical healthcare services can continue.




186
          Redundancy,         Information        Technology         Glossary,        Gartner
https://www.gartner.com/en/information-technology/glossary/redundancy (last accessed Jan. 14,
2025).


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       216.   Organizations like the AHA recommend companies in the healthcare

industry use “backup technology which renders the backups ‘immutable’ – unable to be

deleted, altered or encrypted.” 187

       217.   Unfortunately, like their data security, Change Health Defendants’ IT

Redundancy was also subpar. As Senator Wyden emphasized, “[m]ultifactor

authentication is vital for prevention, but redundancies . . . help the company get back on

its feet . . . [Change Health Defendants] flunked both.” 188

       218.   Once Change’s system was infiltrated, ALPHV was allowed to disable both

the primary and backup systems for the Change Platform because the backup systems were

not immutable nor isolated from the primary systems, and few elements were stored on the

cloud. These are all elementary security features that Change Health Defendants should

have employed to prevent the disastrous effects of the Ransomware Attack.

       219.   Had Change Health Defendants adequately protected Change’s backup

technology and data, the shutdown would have been prevented.




187
     AHA Cybersecurity Advisory, UnitedHealth Group’s Change Healthcare Experiencing
Cyberattack that Could Impact Health Care Providers, American Hospital Association (Feb. 22,
2024),          https://www.aha.org/advisory/2024-02-22-unitedhealth-groups-change-healthcare-
experiencing-cyberattack-could-impact-health-care-providers-and (last accessed Jan. 14, 2025).
188
    Jessie Hellmann, UnitedHealth Group CEO blames hack on aged technology systems, Roll Call
(May 1, 2024, 5:52 PM), https://rollcall.com/2024/05/01/unitedhealth-group-ceo-blames-hack-on-
aged-technology-systems/ (last accessed Jan. 14, 2025).


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                 v.   Change Health Defendants failed to implement critical internal
                      cybersecurity monitoring at Change.

        220.   At the time of the Ransomware Attack, Change Health Defendants did not

have adequate cybersecurity monitoring systems in place to prevent and detect

unauthorized access to the Change networks.

        221.   Change, like any entity in the healthcare industry storing valuable data,

should have had robust protections in place to detect and terminate a successful intrusion

long before access and exfiltration could expand to millions of patient files. Change Health

Defendants’ below-industry-standard procedures and policies are inexcusable given their

knowledge that they were a prime target for cyberattacks.

        222.   “Cybersecurity or process monitoring is continuously observing and

analyzing your computer network or systems to prevent cyberattacks. The primary

objective of monitoring in cybersecurity is quickly identifying signs of vulnerability and

responding to potential security threats in real-time.” 189

        223.   A key component of cybersecurity monitoring is an intrusion detection

system (IDS), which “analyzes an organization’s network traffic, activities, and devices,

looking for known malicious activities or policy violations. If an IDS detects suspicious

activities or patterns, it alerts the system administrators or security team of the potential

threat.” 190




189
     Cyber Security Monitoring: Definition and Best Practices, SentinelOne (Oct. 16, 2024),
https://www.sentinelone.com/cybersecurity-101/cybersecurity/cyber-security-monitoring/ (last
visited Jan. 14, 2025).
190
    Id.


                                              72
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       224.     Another “[o]ne of the simplest yet effective methods of safeguarding systems

is through IP whitelisting. It is particularly beneficial for businesses that rely on remote

access or have distributed teams but want to maintain strict security protocols. . . . IP

whitelisting is a security practice that involves creating a list of trusted IP addresses granted

access to a specific server, application, or network. By using IP whitelisting, only pre-

approved IP addresses can interact with your system. By restricting access to a select group

of devices based on their IP addresses, you can limit exposure to potential attacks and

unauthorized access. The method effectively controls access to critical business systems,

cloud infrastructure, and online services.” 191

       225.     NIST Special Publication 800-167: Guide to Application Whitelisting

provides specific guidance to companies on how to implement whitelisting. 192

       226.     The CISA guidance also encourages organizations to prevent unauthorized

access by:

             a. Conducting regular vulnerability scanning to identify and address

                vulnerabilities, particularly on internet-facing devices;

             b. Regularly patching and updating software to latest available versions,

                prioritizing timely patching of internet-facing servers and software

                processing internet data;




191
    Timothy Shim, IP Whitelisting: The Beginner’s Guide, Rapid Seedbox, (Oct. 7, 2024),
https://www.rapidseedbox.com/blog/ip-whitelisting/ (last accessed Jan. 14, 2025).
192
    U.S. Dept. of Commerce, NIST Special Publication 800-167, Guide to Application Whitelisting,
(Oct. 2015), available at https://nvlpubs.nist.gov/nistpubs/specialpublications/nist.sp.800-167.pdf
(last accessed Jan. 14, 2025).


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          c. Ensuring devices are properly configured and that security features are

              enabled;

          d. Employing best practices for use of Remote Desktop Protocol (RDP) as

              threat actors often gain initial access to a network through exposed and

              poorly secured remote services; and

          e. Disabling operating system network file sharing protocol known as Server

              Message Block (SMB), which is used by threat actors to travel through a

              network to spread malware or access sensitive data. 193

       227.   The CISA guidance further recommends implementing a real-time intrusion

detection system that will detect potentially malicious network activity that occurs prior to

ransomware deployment. 194

       228.   Change’s systems lacked internal monitoring to such a degree that the

attackers were not detected until they chose to reveal themselves—nine days after gaining

access.

       229.   ALPHV’s activity involved several steps that should have been noticed by

Change Health Defendants through proper endpoint and network monitoring and scanning.

This includes:




193
    Ransomware Guide September 2020, Cybersecurity & Infrastructure Security Agency, at 4,
available          at           https://www.cisa.gov/sites/default/files/2023-01/CISA_MS-
ISAC_Ransomware%20Guide_S508C.pdf (last accessed Jan. 14, 2025).
194
    Id. at 5.


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           a. Installing software such as nmap, an obvious and ‘noisy’ network discovery

               scanner. 195 Only administrators should be able to install any software, and

               then such installations should still be monitored. 196 Had Change Health

               Defendants properly monitored Change’s systems, they would not have

               allowed nmap to be installed in the first instance. A properly monitored

               network would have also detected nmap being installed. Application

               whitelisting, which means even administrators can only install software that

               has been pre-approved 197 would have also prevented the installation of nmap

               because nmap would not have been on the whitelist.

           b. The attackers also ran several administrator-only commands. These

               commands should only be possible for those with the highest security

               privileges, and even then, the execution of these privileges should be logged

               and monitored. Had Change Health Defendants had proper monitoring on the



195
    Daryna Olyniychuk, Detect ALPHA SPIDER Ransomware Attacks: TTPs Leveraged by ALPHV
aka BlackCat RaaS Operators, SOC Prime (March 15, 2024), https://socprime.com/blog/detect-
alpha-spider-ransomware-attacks-analysing-ttps-leveraged-by-alphv-BlackCat-raas-operators/
(last accessed Jan. 14, 2025).
196
       Limit Software Installation, Mitre Att&ck (last updated Oct. 17, 2024),
https://attack.mitre.org/mitigations/M1033/ (last visited Jan. 14, 2025); Restrict Software on
Windows Devices Using a Policy, Jumpcloud, https://jumpcloud.com/support/restrict-software-
on-windows-devices-using-policy (last accessed Jan. 2, 2025); What Is a Software Restriction
Policy?, Heimdal (last updated Dec. 8, 2023), https://heimdalsecurity.com/blog/software-
restriction-policy/ (last visited Jan. 14, 2025).
197
    Protecting Against Malicious Code, Cybersecurity & Infrastructure Security Agency, U.S.
Dept. of Homeland Security (last updated Nov. 19, 2019), https://www.cisa.gov/news-
events/news/protecting-against-malicious-code (last accessed Jan. 14, 2025); Katie C. Stewart,
Establish and Maintain Whitelists, Software Engineering Institute, Carnegie Mellon University
(Oct. 25, 2017), available at https://insights.sei.cmu.edu/blog/establish-and-maintain-whitelists-
part-5-of-7-mitigating-risks-of-unsupported-operating-systems/ (last accessed Jan. 14, 2025).


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             networks, the administrator-only commands would have alerted Change

             Health Defendants’ IT personnel.

          c. The attackers exfiltrated terabytes of Private Information. Such actions

             should have only been possible by Change Health Defendants’ network

             administrators and should have required even administrators to pass

             additional security features. Such exfiltration activity should have been

             detected and raised numerous red flags within the system.

      230.   Had     Change   Health    Defendants    implemented    adequate    internal

cybersecurity monitoring, the Ransomware Attack and shutdown would have been

prevented or much smaller in scope.

               vi.   Change Health Defendants failed to protect against known
                     threats from the ALPHV cybercriminal ransomware group.

      231.   Not only would proper endpoint and network monitoring have detected and

alerted Change Health Defendants to software installation, privilege escalation, and

exfiltration, Change Health Defendants also should have properly configured Change’s

networks to detect and block this specific ALPHV/Blackcat ransomware attack. The

attackers were well-known to target participants in the healthcare industry, and employed

certain signature technologies and methods that Change Health Defendants could have

configured Change’s systems to detect and stop.

      232.   “ALPHV operates as a Ransomware-as-a-Service (RaaS), which means

fellow threat actors can become affiliates by purchasing access to ALPHV ransomware,




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infrastructure, and other resources. ALPHV affiliates conduct attacks, while ALPHV

focuses on affiliate support, ransomware development, and business expansion.” 198

           233.   ALPHV is notably sophisticated in its use of the Rust programming

language, “which improve[s] attack performance.” 199

           234.   ALPHV cybersecurity attacks often use the “double extortion” method,

whereby a victim’s data is both ransomed—i.e., stolen with the threat of publication if a

ransom is not paid—and encrypted—i.e., turned into an unreadable format on the victim’s

network, so that the victim cannot continue using the data without ALPHV’s decryption

key. 200

           235.   ALPHV also sometimes use “triple extortion” which additionally adds the

threat of distributed denial of service (DDoS) attack, which can shut down a victim’s

networks. 201

           236.   By 2023, ALPHV had collected nearly $300 million in ransom and gained

notoriety for high-profile attacks targeting healthcare entities specifically. 202

           237.   At the time of the Ransomware Attack, the U.S. Department of State was

“offering a reward of up to $10,000,000 for information leading to the identification or




198
    Christine Barry, ALPHV-BlackCat ransomware group goes dark, Barracuda (Mar. 7, 2024),
available at https://blog.barracuda.com/2024/03/06/alphv-blackcat-ransomware-goes-dark (last
accessed Jan. 14, 2025).
199
    Id.
200
    Id.
201
    Id.
202
    Id.


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location of any individual(s) who hold a key leadership position in the Transnational

Organized Crime group behind the ALPHV/BlackCat ransomware variant.” 203

       238.    The U.S. Department of Health and Human Services has recognized ALPHV

ransomware as a sophisticated threat to the health sector since at least 2023. 204

       239.    In January 2023, Nextgen Health, a “multibillion-dollar healthcare giant

[that] produces electronic health record (EHR) software and practice management systems

for hundreds of the biggest hospitals and clinics in the U.S.,” was attacked by ALPHV

ransomware. 205

       240.    In February 2023, ALPHV successfully penetrated the Lehigh Valley Health

Network systems and exfiltrated and published sensitive patient data including clinical

images of breast cancer patients that the group notoriously teased as “nude photos.” 206

       241.    In July 2023, ALPHV attacked Barts Health NHS Trust in the UK and

exfiltrated seven terabytes of information. 207




203
    Reward for Information: ALPHV/Blackcat Ransomware as a Service, U.S. Dept. of State (Feb.
15,     2024),     https://www.state.gov/reward-for-information-alphv-blackcat-ransomware-as-a-
service/ (last visited Jan. 14, 2025).
204
    Royal & BlackCat Ransomware: The Threat to the Health Sector, U.S. Dep’t of Health and
Human Servs. (Jan. 12, 2023), available at https://www.hhs.gov/sites/default/files/royal-blackcat-
ransomware-tlpclear.pdf (last accessed Jan. 14, 2025).
205
    Jonathan Greig, Electronic health record giant NextGen dealing with cyberattack, The Record
(Jan. 19, 2023), available at https://therecord.media/electronic-health-record-giant-nextgen-
dealing-with-cyberattack (last accessed Jan. 14, 2025).
206
    Alexander Martin, Ransomware gang posts breast cancer patients' clinical photographs, The
Record (Mar. 6, 2023), available at https://therecord.media/ransomware-lehigh-valley-alphv-
black-cat (last accessed Jan. 14, 2025).
207
      BlackCat/ALPHV Ransomware: In-Depth Analysis and Mitigation, Stonefly,
https://stonefly.com/blog/BlackCat-alphv-ransomware-analysis-and-mitigation/ (last accessed
Jan. 2, 2025).


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       242.   In October 2023, ALPHV took credit for a July 2023 attack on McLaren

Health Care, where they successfully exfiltrated the Private Information of over 2.2 million

McLaren patients. 208

       243.   According to John Riggi, the AHA’s national advisor for cybersecurity and

risk, as of December 20, 2023 “[ALPHV] has attacked numerous hospitals, publicly

exposed sensitive patient data and placed patient care and lives at risk.” 209

       244.   On December 19, 2023 the FBI and CISA co-authored a Joint Cybersecurity

Advisory titled “#StopRansomware: ALPHV BlackCat” warning that ALPHV was

targeting critical infrastructure with ransomware.

       245.   The Advisory identified certain Indicators of Compromise (“IoCs”)

associated with the ransomware group. 210

       246.   Typical IoCs are virus signatures and IP addresses, MD5 hashes of malware

files, or URLs or domain names of botnet command and control servers. After IoCs have

been identified they can be used for early detection of future attack attempts using intrusion

detection systems and antivirus software.




208
    Bill Toulas, McLaren Health Care says ransomware attack impacted 2.2 million people (Nov.
10, 2023), available at https://www.bleepingcomputer.com/news/security/mclaren-health-care-
says-data-breach-impacted-22-million-people/ (last accessed Jan. 14, 2025).
209
    DOJ disrupts ALPHV/BlackCat ransomware group, AHA News (Dec. 20, 2023), available at
https://www.aha.org/news/headline/2023-12-20-doj-disrupts-alphvBlackCat-ransomware-group
(last accessed Jan. 14, 2025).
210
    Joint Cybersecurity Advisory TLP Clear: #StopRansomware: ALPHV BlackCat (Dec. 19,
2023), available at: https://www.aha.org/cybersecurity-government-intelligence-reports/2023-12-
19-joint-cybersecurity-advisory-tlp-clear-stopransomware-alphv-blackcat (last accessed Jan. 14,
2025).


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       247.   The FBI and CISA Advisory specifically noted that “[s]ince previous

reporting, ALPHV BlackCat actors released a new version of the malware, and the FBI

identified over 1000 victims worldwide [nearly 75 percent of which are in the United

States] targeted via ransomware and/or data extortion.”

       248.   The Advisory further recommended that potential targets implement specific

precautions to “to improve your organization’s cybersecurity posture based on threat actor

activity and to reduce the risk of compromise by ALPHV BlackCat threat actors.”

       249.   As far back as 2022 and continuing to 2023, independent security researchers

also published guides detailing ALPHV’s IoCs, and specific prophylactic measures

organizations could implement to detect, prevent, or mitigate the group’s ransomware

attacks. 211 Moreover, ALPHV was infecting systems that did not use multi-factor

authentication at least as early as 2022. 212

       250.   As described, the steps of an ALPHV attack are well-documented, as are the

defenses that can be employed at each step to foil an attack. An overview of a standard

process is given here: 213


211
       BlackCat/ALPHV Ransomware: In-Depth Analysis and Mitigation, Stonefly,
https://stonefly.com/blog/BlackCat-alphv-ransomware-analysis-and-mitigation/ (last accessed
Jan. 2, 2025); Amanda Tanner, Threat Assessment: BlackCat Ransomware (Jan. 27, 2022)
https://unit42.paloaltonetworks.com/BlackCat-ransomware/ (last visited Jan. 14, 2025).
212
    Daryna Olyniychuk, Detect ALPHA SPIDER Ransomware Attacks: TTPs Leveraged by ALPHV
aka BlackCat RaaS Operators, SOC Prime (March 15, 2024), https://socprime.com/blog/detect-
alpha-spider-ransomware-attacks-analysing-ttps-leveraged-by-alphv-BlackCat-raas-operators/
(last accessed Jan. 14, 2025).
213
        A    Deep      Dive    Into    ALPHV/BlackCat       Ransomware,      SecurityScorecard,
https://securityscorecard.com/research/deep-dive-into-alphv-BlackCat-ransomware (last accessed
Jan. 2, 2025); What is BlackCat Ransomware, Akamai, https://www.akamai.com/glossary/what-
is-BlackCat-ransomware (last accessed Jan. 2, 2025); Mehardeep Singh Sawhney, Technical



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           a. Initial access often begins with obtaining login credentials and exploiting

              systems that do not have MFA.

           b. After access is achieved, the network is scanned for other machines. A

              network scan, particularly using such a widely known tool as nmap, should

              be detected by any properly configured system monitoring.

           c. They next use a tool named PsExec 214 to deploy additional malware to other

              systems on the network. This tool is a free tool but must be downloaded and

              installed on the machine. If the victim systems are using the very

              fundamental cybersecurity principle of least privilege, then only a select few

              accounts would even be able to install software. This would mean that if the

              attackers gained access through an account that was not part of the group that

              had privileges to install software, their attack would be stopped.

           d. The tool the attackers deploy is ExMatter. 215 It is a tool written in .Net

              specifically to exfiltrate data. Specifically, ExMatter will steal user files,

              compressed files, and databases, then upload them to a Secure File Transfer




Analysis      of    ALPHV/BlackCat        Ransomware,     CloudSek       (May      22,    2023),
https://www.cloudsek.com/blog/technical-analysis-of-alphv-BlackCat-ransomware (last accessed
Jan. 14, 2025); BlackCat/ALPHV Ransomware: In-Depth Analysis and Mitigation, Stonefly,
https://stonefly.com/blog/BlackCat-alphv-ransomware-analysis-and-mitigation/ (last accessed
Jan. 2, 2025); Jason Hill, BlackCat Ransomware (ALPHV), Varonis (last updated April 14, 2023)
https://www.varonis.com/blog/BlackCat-ransomware (last accessed Jan. 14, 2025).
214
    Mark Russinovich, PsExec v2.43, Microsoft Learn, Systerinals (April 11, 2023), available at
https://learn.microsoft.com/en-us/sysinternals/downloads/psexec (last accessed Jan. 14, 2025).
215
     ExMatter, Malpedia, https://malpedia.caad.fkie.fraunhofer.de/details/win.exmatter (last
accessed Jan. 2, 2025).


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              Protocol server (SFTP). 216 Properly managed systems should notice any

              system initiating an SFTP transfer to outside the network.

           e. ALPHV will also run a number of commands, all of which should require

              administrative privileges in a properly configured network:

                         1. Get device UUID

                         2. Stop IIS service

                         3. Clean Shadow Copies

                         4. List Windows Event logs and try to clear them (this in

                             particular should trigger some monitoring system).

           f. Only then does ALPHV encrypt the files.

       251.   HIPAA security standards require organizations to “[p]rotect against any

reasonably anticipated threats or hazards to the security or integrity of such

information.” 217 Automatically tracking IoCs is a standard method for companies to

comply with these requirements. 218




216
    Analyzing Exmatter: A Ransomware Data Exfiltration Tool, Kroll (Mar. 22, 2022), available at
https://www.kroll.com/en/insights/publications/cyber/analyzing-exmatter-ransomware-data-
exfiltration-tool (last accessed Jan. 14, 2025).
217
    45 C.F.R. § 164.306(a)(2).
218
    Robert Brzezinski, HIPAA Privacy and Security Compliance - Simplified: Practical Guide for
Small and Medium Organizations 28 (2016 ed.); SecurityMetrics Guide to HIPAA Compliance
(8th ed.), available at: https://www.securitymetrics.com/content/dam/securitymetrics/PDF-
files/SecurityMetrics_Guide_to_HIPAA_Compliance_Eighth_Edition.pdf (last accessed Jan. 2,
2025); Technical Vol. 2: Cybersecurity Practices for Medium and Large Healthcare Organizations
2023 Edition, Healthcare & Public Health Sector Coordinating Council, U.S. Dept. of Health &
Human Services, available at: https://405d.hhs.gov/Documents/tech-vol2-508.pdf (last accessed
Jan. 2, 2025).


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       252.   At the time of the Ransomware Attack, ALPHV was a reasonably anticipated

threat or hazard to the Change Health Defendants.

       253.   Change Health Defendants knew or should have known of their obligation to

implement and use reasonable measures to protect against ALPHV attacks.

       254.   As evidenced by the Ransomware Attack, Change Health Defendants did not

track IoCs regarding ALPHV or implement other reasonable measures to prevent an

ALPHV attack.

       255.   Had Change Health Defendants tracked ALPHV IoCs and implemented

measures to detect and ALPHV attack, the Ransomware Attack could have been prevented.

               vii.   Change Health Defendants did not properly encrypt or hash
                      Private Information.

       256.   HIPAA recommends appropriately encrypting data using a robust encryption

algorithm, whether at rest or in transition.

       257.   For organizations like Change, with abundant technology resources, HIPAA

regulations require encryption of PHI and dictate that all encryption protocols follow the

NIST standards.

       258.   For example, NIST 800-53 recommends removing, masking, encrypting, or

hashing PII contained in company datasets. 219 “There are many possible processes for

removing direct identifiers from a dataset. Columns in a dataset that contain a direct




219
   NIST Special Publication 800-53, Rev. 5, Security and Privacy Controls for Information
Systems and Organizations, Natl. Institute of Standards and Tech., U.S. Dept. of Commerce,
available at https://nvlpubs.nist.gov/nistpubs/SpecialPublications/NIST.SP.800-53r5.pdf (last
accessed Jan. 2, 2025).


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identifier can be removed. In masking, the direct identifier is transformed into a repeating

character, such as XXXXXX or 999999. Identifiers can be encrypted or hashed so that the

linked records remain linked. In the case of encryption or hashing, algorithms are employed

that require the use of a key, including the Advanced Encryption Standard or a Hash-based

Message Authentication Code. Implementations may use the same key for all identifiers or

use a different key for each identifier. Using a different key for each identifier provides a

higher degree of security and privacy. Identifiers can alternatively be replaced with a

keyword, including transforming ‘George Washington’ to ‘PATIENT’ or replacing it with

a surrogate value, such as transforming ‘George Washington’ to ‘Abraham Polk.’”

       259.    Change Health Defendants were fully aware of their obligations to

implement and use reasonable measures such as encryption to protect patients’ Private

Information.

       260.    Given the attackers were able to access Private Information, Change Health

Defendants failed to comply with these basic recommendations and guidelines and did not

protect Private Information with sufficient masking, encrypting, or hashing.

       261.    Change Health Defendants’ failure to employ reasonable measures to protect

against unauthorized access to patient information violated HIPAA and constitutes an

unfair act or practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.

       262.    Had Change Health Defendants adequately encrypted or hashed Private

Information, the Ransomware Attack and shutdown would have been prevented.




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                                 NAMED PLAINTIFF

      263.   The Plaintiff identified below brings this action on behalf of itself and those

similarly situated in the classes identified below. Plaintiff is a Provider whose business

operations was disrupted when Change Health Defendants disconnected the Change

Platform as a belated attempt to stop the Ransomware Attack caused by their own failures.

      264.   At the time of the shutdown, Plaintiff used and relied on the Change Platform

to facilitate processing of insurance claims for approval and payment.

      265.   It was foreseeable that Change Health Defendants’ substandard network

security and failure to establish a reliable backup system would result in the Change

Platform becoming non-operational in the event of a cyberattack or ransomware attack.

Had Change Health Defendants disclosed their network security was not compliant with

HIPAA and other industry standards. and that they did not have a reliable backup system,

Plaintiff would not have used the Change Platform.

      266.   Plaintiff Odom Health & Wellness is a sports medicine, physical therapy,

and wellness practice located and registered in Eden Prairie, Minnesota.

      267.   Plaintiff, through a third-party intermediary, relied on Change to provide the

Services, such as processing medical claims, to Plaintiff so that Plaintiff could receive

payment for medical care provided to its patients.

      268.   Because of Change Health Defendants’ substandard data security measures,

Change experienced the Ransomware Attack. In response, Change Health Defendants

chose to disconnect the Change Platform. As a result of Change Health Defendants’

decision to disconnect the Change Platform, Plaintiff was unable to submit claims, receive


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ERAs, and receive payment for its medical care to patients. Plaintiff’s business was thereby

disrupted and still has not recovered to pre-Ransomware Attack conditions.

       269.    As a result of Change Health Defendants’ actions, Plaintiff did not receive

the services it paid for from Change. In addition, this business disruption has caused

Plaintiff to suffer monetary losses, such as rejected and/or delayed payments for medical

care thus depriving Plaintiff of the time value of money and loss of interest. Furthermore,

Plaintiff spent significant time and resources, including but not limited to investigating the

network outage and alternative methods to receive payment for medical care, which

increased manual labor costs.

       270.   Because of these monetary losses and business disruption, Plaintiff was

forced to participate in the TFAP, where Plaintiff received an advance of $569,680.00 to

be paid back when Plaintiff’s collections pursuant to its submitted medical claims were

current.

       271.   If Plaintiff knew about Change Health Defendants’ inadequate data security

practices, it would have attempted to use an alternative to the Change Platform.


                           CLASS ACTION ALLEGATIONS

       272.   Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3), as applicable, and (c)(4),

Plaintiff seeks certification of the following nationwide classes (the “Nationwide Classes”

or the “Classes”):

       National Providers Class: All Providers whose use of Change’s Services,
       either directly or indirectly, was disrupted, or whose payments were delayed
       or denied because of the Ransomware Attack and shutdown.



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          National Provider Loan Assistance Sub-Class: Members of the National
          Providers Class that accepted a Temporary Funding Assistance Program loan
          from Defendants.

          273.   Pursuant to Fed. R. Civ. P. 23, Plaintiff also seeks certification of state claims

in the alternative to the nationwide claims, as well as statutory claims under state data

breach statute and consumer protection statute, on behalf of a separate statewide Class for

Minnesota (the “Statewide Class” or “Minnesota State Class”), defined as follows:

          Minnesota Class: All Providers residing in Minnesota whose use of Change’s
          Services was disrupted, or whose payments were delayed because of the
          Ransomware Attack and shutdown.

The foregoing Statewide Class, together with the Nationwide Classes, are referred to

collectively as the “Class” herein.

          274.   Excluded from the proposed Class are Defendants, any entity in which

Defendants have a controlling interest, is a parent or subsidiary, or which is controlled by

Defendants, as well as the officers, directors, affiliates, legal representatives, heirs,

predecessors, successors, and assigns of Defendants. Also excluded from the Class are any

federal, state, or local governmental entities, any judicial officer presiding over this action

and the members of their immediate family and judicial staff, and any juror assigned to this

action.

          275.   Class Identity: The Class members are readily identifiable and

ascertainable. Defendants and/or their affiliates, among others, possess the information to

identify and contact Class members.




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       276.   Numerosity: The Class members are so numerous that joinder of all of them

is impracticable. According to the U.S. Department of Health and Human Services, Change

“processes 15 billion health care transactions annually and is involved in one in every three

patient records.” According to Change, it is connected to “more than 800,000 providers[.]”

       277.   Typicality: Plaintiff’s claims are typical of the claims of the Class members

because all Class members could not submit medical claims through Change Health

Defendants’ Change Platform or were delayed or denied payment because of the

Ransomware Attack and shutdown and were harmed as a result.

       278.   Adequacy: Plaintiff will fairly and adequately protect the interests of the

Class members. Plaintiff has no known interests antagonistic to those of the Class members

and its interests are aligned with Class members’ interests. Plaintiff could not submit

medical claims through Change Health Defendants’ Change Platform and/or its payments

were delayed or denied because of the Ransomware Attack and shutdown just as Class

members were, and suffered similar harms. Plaintiff has also retained competent counsel

with significant experience litigating complex and commercial class actions.

       279.   Commonality and Predominance: There are questions of law and fact

common to the Class members such that there is a well-defined community of interest in

this litigation. These common questions predominate over any questions affecting only

individual Class members. The common questions of law and fact include, without

limitation:




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 (a)   Whether Change Health Defendants owed Plaintiff and Class members a

       duty to implement and maintain reasonable security procedures and practices

       to protect patients’ Private Information;

(b)    Whether Change Health Defendants received a benefit without proper

       restitution making it unjust for Change Health Defendants to retain the

       benefit without commensurate compensation;

 (c)   Whether Change Health Defendants acted negligently by not implementing

       adequate security systems to ensure their network was not disconnected;

(d)    Whether Change Health Defendants violated their duty to implement

       adequate security systems to ensure their network was not disconnected;

 (e)   Whether Change Health Defendants’ breaches of their duties to implement

       reasonable security systems directly and/or proximately caused damages to

       Plaintiff and Class members;

 (f)   Whether Change Health Defendants adequately addressed and fixed the

       vulnerabilities that enabled the Ransomware Attack;

(g)    Whether Defendants breached agreements with Plaintiff and Class members

       by disconnecting the Change Platform and demanding payment on TFAP

       loans; and

(h)    Whether Class members are entitled to compensatory damages, punitive

       damages, and/or statutory or civil penalties as a result of the Ransomware

       Attack and shutdown.




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        280.   Defendants have engaged in a common course of conduct and Plaintiff and

Class members have been similarly impacted by Change Health Defendants’ failure to

maintain reasonable security procedures and practices.

        281.   Superiority: A class action is superior to other available methods for the fair

and efficient adjudication of the controversy. Class treatment of common questions of law

and fact is superior to multiple individual actions or piecemeal litigation. Absent a class

action, most if not all Class members would find the cost of litigating their individual

claims prohibitively high and have no effective remedy. The prosecution of separate

actions by individual Class members would create a risk of inconsistent or varying

adjudications with respect to individual Class members and risk inconsistent treatment of

claims arising from the same set of facts and occurrences. Plaintiff knows of no difficulty

likely to be encountered in the maintenance of this action as a class action under the

applicable rules.

                              CLAIMS FOR RELIEF
                             COUNT I: NEGLIGENCE
   (On Behalf of Plaintiff and the National Providers Class, or Alternatively, the
            Statewide Class, Against the Change Health Defendants)

        282.   Plaintiff repeats and realleges every allegation set forth in Paragraphs 1 to

281.

        283.   At relevant times, Change Health Defendants set up, provided, managed,

maintained, operated, supervised, controlled, and commercially benefited from a network,

equipment, and systems (“System”) used to operate the Change Platform and offer the

Services to Plaintiff and Class members.



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       284.   Each of the Change Health Defendants owed Plaintiff and Class members a

duty to exercise reasonable care in setting up, providing, managing, maintaining, operating,

supervising, and controlling the System, including a duty to secure the System against

reasonably foreseeable breaches of the System, to have adequate training and policies to

secure the System against reasonably foreseeable ransomware attacks, to warn Plaintiff

(directly or through their vendors) of gaps or deficiencies in the System, to monitor the

System for attacks, to timely notify Plaintiff (directly or through their vendors) of attacks,

and to ensure that the Services would be properly functioning, timely, and accurate,

including by having redundancies and contingency plans in the event of an attack on the

System.

       285.   Change Health Defendants also owed Plaintiff and Class members a duty to

exercise reasonable care to avoid harm to Plaintiff and Class members because they were

reasonably foreseeable and probable victims of substandard cybersecurity practices, such

as a lack of MFA, given that Change Health Defendants’ System houses the Services such

that it was reasonably foreseeable that, if an attack on the System caused the System to be

disconnected (as happened here), Plaintiff and Class members would be injured by the

sudden and sustained lack of claims and payment processing by the Change Platform.

       286.   Change Health Defendants knew or should have known of the vulnerabilities

of their System and of the significance of their inadequate security measures, including the

reasonably foreseeable harm to Plaintiff and Class members from a System breach and

disconnection. Change Health Defendants knew or should have known about the

prevalence of ransomware attacks and data breaches in the healthcare sector. And Change


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Health Defendants knew or should have known that their network security did not

adequately safeguard the Services.

      287.   Change Health Defendants’ duty to use reasonable care in securing and

operating the System so as to protect against disconnection of the Change Platform also

arises from the parties’ relationship, as well as common law and federal law, and Change

Health Defendants’ own policies and promises regarding privacy and data security.

      288.   Change Health Defendants breached their duties to Plaintiff and Class

members in numerous ways through their affirmative misfeasance, including by:

          a. Creating, using, and implementing security systems, protocols, and practices

             that were insufficient to protect the System against reasonably foreseeable

             ransomware attacks;

          b. Creating, using, and implementing systems, protocols, and practices that

             lacked redundancies and contingency protocols and were otherwise

             insufficient to ensure the continuity of the Change Platform and avoid sudden

             and sustained lack of claims and payment processing in the event of a breach

             of the System;

          c. Creating, using, and implementing security systems, protocols, and practices

             that violated regulatory requirements and industry standard data security

             measures for the healthcare industry leading up to the Ransomware Attack;

          d. Failing to comply with their own privacy and data security policies;

          e. Failing to adequately monitor, evaluate, and ensure the security of the

             System;


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          f. Failing to have reasonably adequate contingency plans and backup systems

              to avoid sudden and sustained lack of claims and payment processing by the

              Change Platform; and

          g. Failing to warn Plaintiff (directly or through their vendors) that the System

              was not adequately secured and/or that a reasonably foreseeable breach of

              the System could require disconnection and sudden and sustained loss of

              Services through the Change Platform.

       289.   Plaintiff and Class members would have been able to timely submit claims

and receive timely payment for their healthcare services but for Change Health Defendants’

wrongful and negligent breaches of their duties.

       290.   It was reasonably foreseeable to Change Health Defendants that a breach of

the System could injure healthcare providers like Plaintiff and Class members whose

claims and payments for healthcare services are routinely processed through the Change

Platform and who reasonably rely on the timely and accurate processing of such claims

and payments.

       291.   As a direct and proximate result of Change Health Defendants’ negligence,

Plaintiff and Class members have been injured and are entitled to damages in an amount to

be proven at trial. Plaintiff’s and Class members’ damages include one or more of the

following: missed payments for their healthcare services; delayed payments for their

healthcare services; the costs of securing financing alternative to those missed or delayed

payments; interest charges incurred; additional labor costs; expenses associated with and

time spent hiring staff or vendors to troubleshoot the business disruption caused by Change


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Health Defendants’ shutdown of the Change Platform; expenses associated with and time

spent researching and implementing new healthcare payment software and systems;

expenses associated with and time spent attempting to manually submit claims and obtain

payments that otherwise were to be processed through the Change Platform; late penalties

assessed for untimely submission of claims; lost benefit of their bargains and overcharges

for the Services; loss of the time-value of money, including but not limited to interest or

other income, associated with the preceding injuries and damages.

        292.   Change Health Defendants’ breaches of one or more of their duties was a

substantial factor in causing harms, injuries, and damages to Plaintiff and Class members.

        293.   Change Health Defendants’ conduct, as described above, was willful,

wanton, reckless, oppressive, extreme, and outrageous, and displayed an entire want of

care and a conscious and depraved indifference to the consequences of their conduct and

warrants an award of punitive damages in an amount sufficient to punish the Change Health

Defendants and deter others from like conduct.

                       COUNT II: NEGLIGENCE PER SE
   (On Behalf of Plaintiff and the National Providers Class, or Alternatively, the
            Statewide Class, Against the Change Health Defendants)

        294.   Plaintiff repeats and realleges every allegation set forth in Paragraphs 1 to

281.

        295.   At all relevant times, each Change Health Defendant had an obligation to

comply with applicable statutes and regulations, including Section 5 of the FTC Act

(“FTCA”), 15 U.S.C. § 45(a)(1) and HIPAA Privacy Rule (“Standards for Privacy of

Individually Identifiable Health Information”), 45 C.F.R. Part 160 and Part 164, Subparts


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A and E, and the HIPAA Security Rule (“Security Standards for the Protection of

Electronic Protected Health Information”), 45 C.F.R. Part 160 and Part 164, Subparts A

and C (collectively, “HIPAA Privacy and Security Rules”).

       296.   Section 5 of the FTC prohibits “unfair . . . practices in or affecting

commerce.” The FTC has interpreted Section 5 to include as an unfair act or practice the

failure by a business to employ reasonable security measures to secure access to their paid-

for systems, despite representing otherwise.

       297.   The HIPAA Privacy and Security Rules require, inter alia, that Change

Health Defendants maintain adequate data security systems to reduce the risk of data

breaches and cyberattacks, adequately protect the PHI of patients, and ensure the

confidentiality and integrity of electronically protected health information created,

received, maintained, or transmitted. See, e.g., 45 C.F.R. § 164.306(a)(1).

       298.   Change Health Defendants violated Section 5 of the FTCA and HIPAA

Privacy and Security Rules by failing to use reasonable security measures to secure access

to their paid-for Change Platform, despite representing otherwise, including by not

complying with applicable industry standards. Change Health Defendants’ conduct was

particularly unreasonable given the nature and amount of sensitive information they

collect, maintain, and/or transfer as well as the nature of the Change Platform’s business.

Change Health Defendants’ conduct was also unreasonable given the foreseeable

consequences of a System breach to the continuity of the Services (given Change Health

Defendants’ lack of redundancies and contingency plans) and the resulting impact on

Plaintiff and Class members as described above.


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       299.   Defendants’ violation of Section 5 of the FTCA and the HIPAA Privacy and

Security Rules constitutes negligence per se.

       300.   Plaintiff and Class members are within the class of persons that Section 5 of

the FTCA and HIPAA Privacy and Security Rules were intended to protect.

       301.   The harm suffered by Plaintiff and Class members as a result of the

Ransomware Attack is the type of harm that Section 5 of the FTCA and HIPAA Privacy

and Security Rules were intended to guard against.

       302.   It was reasonably foreseeable to Change Health Defendants that their failure

to exercise reasonable care in securing the System would result in harm to Plaintiff and

Class members due to not being able to timely submit claims for and not receiving timely

payments for their healthcare services.

       303.   The injury and harm that Plaintiff and the other Class members suffered was

the direct and proximate result of Change Health Defendants’ violation of Section 5 of

FTCA and HIPAA Privacy and Security Rules. Plaintiff and Class members have been

injured and are entitled to damages in an amount to be proven at trial. Plaintiff’s and Class

members’ damages include one or more of the following: missed payments for their

healthcare services; delayed payments for their healthcare services; the costs of securing

financing alternative to those missed or delayed payments; interest charges incurred;

additional labor costs; expenses associated with and time spent hiring staff or vendors to

troubleshoot the business disruption caused by Change Health Defendants’ shutdown of

the Change Platform; expenses associated with and time spent researching and

implementing new healthcare payment software and systems; expenses associated with and


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time spent attempting to manually submit claims and obtain payments that otherwise were

to be processed through the Change Platform; late penalties assessed for untimely

submission of claims; lost benefit of their bargains and overcharges for the Services; loss

of the time-value of money, including but not limited to interest or other income, associated

with the preceding injuries and damages.

        304.   Change Health Defendants’ conduct, as described above, was willful,

wanton, reckless, oppressive, extreme, and outrageous, and displayed an entire want of

care and a conscious and depraved indifference to the consequences of their conduct and

warrants an award of punitive damages in an amount sufficient to punish the Change Health

Defendants and deter others from like conduct.


                 COUNT III: BREACH OF CONTRACT (TFAP)
  (On Behalf of Plaintiff and the National Provider Loan Assistance Sub-Class, or
              Alternatively, the Statewide Class, Against Defendants)

        305.   Plaintiff repeats and realleges every allegation set forth in Paragraphs 1 to

281.

        306.   Plaintiff brings this claim on behalf of itself and the National Provider Loan

Assistance Sub-Class against all Defendants.

        307.   Plaintiff and the National Provider Loan Assistance Sub-Class entered into

contracts with Defendants for the provision of interest-free and fee-free loans through the

TFAP.




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       308.   The TFAP contracts are between Providers and Change Healthcare

Operations, LLC, as well as all “parents, affiliates, successors, and assigns” of Change

Healthcare Operations, LLC.

       309.   TFAP contracts are governed by the laws of the state of Minnesota, and

designate jurisdiction and venue as proper in the state of Minnesota, for the resolution of

any dispute arising under the agreement.

       310.   The TFAP contracts include an integration clause providing that the terms of

the contracts are the complete and final agreement between the parties.

       311.   Plaintiff and National Provider Loan Assistance Sub-Class members

performed substantially all that was required of them under their contracts with Defendants,

or they were excused from doing so.

       312.   Providers would not have entered these contracts with Defendants without

understanding that repayment of TFAP loans would not be required of them until payments

impacted during the service disruption period were processed.

       313.   A meeting of the minds occurred, as Plaintiff and the National Provider Loan

Assistance Sub-Class agreed, among other things, to participate in TFAP in exchange for

Defendants’ agreement to provide loans while the Change Platform remained out of

service.

       314.   The processing of payments impacted by the shutdown prior to repayment

by Plaintiff and the National Provider Loan Assistance Sub-Class members were material

aspects of the contracts.




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       315.   Plaintiff and the National Provider Loan Assistance Sub-Class members

read, reviewed, and/or relied on this contract provision and/or otherwise understood that

Defendants would not demand repayment of TFAP loans until payments impacted during

the service disruption were processed.

       316.   Defendants breached its promise by demanding repayment of TFAP loans

before payments impacted during the service disruption were processed, and by threatening

to offsetting claims payments for temporary funding repayments.

       317.   As a direct and proximate result of Defendants’ breach of contract, Plaintiff

and National Provider Loan Assistance Sub-Class members did not receive the full benefit

of their bargain and instead were provided with a loan service that was less valuable than

described in their contracts.

       318.   Plaintiff and National Provider Loan Assistance Sub-Class members are also

being damaged because they are being forced to repay the loans before they have received

the money due on outstanding claims payments impacted by the shutdown to repay those

loans. Plaintiff and National Provider Loan Assistance Sub-Class members are thus being

forced to consider obtaining alternate sources of funds, at higher interest rates than the

TFAP loans, in order to cover the shortfall remaining as a result of the shutdown.

       319.   Accordingly, Plaintiff and National Provider Loan Assistance Sub-Class

members have been injured by Defendants’ breach of contract and are entitled to damages

and/or restitution in an amount to be proven at trial.




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        320.   Plaintiff and National Provider Loan Assistance Sub-Class members are also

entitled to an injunction precluding Defendants’ further demands for repayment of TFAP

loans until payments impacted during the service disruption period have been processed.

                       COUNT IV: UNJUST ENRICHMENT
  (On Behalf of Plaintiff and the Nationwide Providers Class, or Alternatively, the
               Statewide Class, Against Change Health Defendants)

        321.   Plaintiff repeats and realleges every allegation set forth in Paragraphs 1 to

281.

        322.   This Count is pleaded on behalf of Plaintiff and the National Providers Class

members.

        323.   Plaintiff and National Providers Class members conferred benefits on

Change Health Defendants, both directly and indirectly, in the form of payments for the

Services. Plaintiff and National Providers Class members further conferred benefits on

UHG and UHCS through the provision of patient services to insureds covered by a UHG

subsidiary health insurers prior to payment. Change Health Defendants had knowledge of

the benefits conferred by Plaintiff and National Providers Class members and appreciated,

and retained, such benefits.

        324.   In accepting payments from Plaintiff and National Providers Class members,

Change Health Defendants should have used, in part, the monies Plaintiff and National

Providers Class members paid to them, directly and indirectly, to pay the costs of industry

standard cybersecurity, threat detection, and incident response measures, including a

business continuity plan. In accepting payments from Plaintiff and National Providers

Class members, Change Health Defendants should have used the monies Plaintiff and


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National Providers Class members paid to them, directly and indirectly, to maintain a

functioning Change Platform and Services. In failing to provide such cybersecurity and

incident response measures, including maintaining a functioning Change Platform and

Services, Change Health Defendants have been unjustly enriched at Plaintiff’s and

National Providers Class members’ expense. Change Health Defendants had no

justification for failing to provide adequate data security protections and failing to maintain

a functioning Change Platform and Services, and retention of benefits would be unjust and

morally wrong.

       325.   Because of Change Health Defendants’ wrongful and inequitable conduct,

including Change Health Defendants’ shutdown of the Change Platform and Services,

UHG and UHCS unjustly benefitted from and retained the value of Plaintiff’s and National

Providers Class members’ provision of patient services to insureds covered by a UHG

subsidiary health insurer before payment. UHG and UHCS thus unjustly retained and had

use of, either temporarily or permanently, money and interest or other investment income

earned thereon that should have been timely paid to Plaintiff and National Providers Class

members for their provision of patient services. UHG and UHCS had no justification for

this conduct, and retention of benefits would be unjust and morally wrong.

       326.   Plaintiff and National Providers Class members have suffered damages and

harm because of Change Health Defendants’ negligent, and unlawful, conduct, inactions,

and omissions. Change Health Defendants should be required to disgorge all unlawful or

inequitable benefits received from Plaintiff and National Providers Class members.




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       COUNT V: INTERFERENCE WITH PROSPECTIVE ECONOMIC
       ADVANTAGE, BUSINESS RELATIONSHIP, OR EXPECTANCY
  (On Behalf of Plaintiff and the Nationwide Providers Class, or Alternatively, the
               Statewide Class, Against Change Health Defendants)

        327.   Plaintiff repeats and realleges every allegation set forth in Paragraphs 1 to

281.

        328.   At the time of the Ransomware Attack and outage, Plaintiff and Class

members had ongoing business relationships or business expectancies with third parties.

Plaintiff and Class members submitted claims through the Change Platform to these third

parties with the expectation and understanding that their claims would be processed and

they would be reimbursed in a timely fashion, or worked with the third parties to submit

claims through the Change Platform.

        329.   Change Health Defendants knew or should have known about these

relationships or expectancies due to the intentional integration of the Change Platform and

the Services and processes with the third parties and their data systems. Indeed, the Change

Platform is an indispensable link in the healthcare reimbursement process, enabling

Plaintiff and Class members and these third party businesses to conduct business

transactions, process claims, and exchange payments. Plaintiff and Class members relied

on Change Health Defendants to ensure they could run and grow successful businesses.

        330.   Despite Change Health Defendants positioning the Change Platform as a

linchpin of the nation’s healthcare system and crucial to Plaintiff’s and Class members’

healthcare business operations, Change Health Defendants (1) failed to implement

reasonable and adequate security controls to prevent the Ransomware Attack; (2) shut



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down the Change Platform without an adequate substitute in place to ensure that Plaintiff

could be paid for the vital health services they performed; and (3) failed to have adequate

business continuity or disaster recovery plans and capabilities to quickly recover the

Systems.

       331.   Change Health Defendants failed to act with reasonable care and

intentionally engaged in wrongful conduct, including by violating Section 5 of FTCA and

HIPAA Privacy and Security Rules. Change Health Defendants had ample knowledge of

the requirements to implement reasonable data security under the FTCA and HIPAA, and

knew of the increased risk to healthcare entities, as well as many recent high profile

cybersecurity incidents at other healthcare partner and Provider companies.

       332.   As a result of Change Health Defendants’ intentional and wrongful conduct,

Change Health Defendants interfered with and disrupted the business relationships or

expectancies between Plaintiff and Class members and the third-party businesses.

       333.   Change Health Defendants knew interference with Plaintiff and Class

members’ business relationships and expectancies was substantially certain to occur as a

result of the Ransomware Attack and shutdown.

       334.   Change Health Defendants did not have any privilege or justification for their

actions, and they were strangers to the business relationships between Plaintiff and the third

parties with which they interfered.

       335.   As a direct and proximate cause of Change Health Defendants’ wrongful

conduct, Plaintiff and Class members have suffered damages as discussed herein, including

loss of the ability to obtain prospective economic advantages from existing business


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relationships. Plaintiff and Class members were unable to obtain payment for services

rendered as a result of the Change Health Defendants’ interference. Further, Plaintiff’s and

Class members’ damages include one or more of the following: missed payments for their

healthcare services; delayed payments for their healthcare services; the costs of securing

financing alternative to those missed or delayed payments; interest charges incurred;

additional labor costs; expenses associated with and time spent hiring staff or vendors to

troubleshoot the business disruption caused by Change Health Defendants’ shutdown of

the Change Platform; expenses associated with and time spent researching and

implementing new healthcare payment software and systems; expenses associated with and

time spent attempting to manually submit claims and obtain payments that otherwise were

to be processed through the Change Platform; late penalties assessed for untimely

submission of claims; lost benefit of their bargains and overcharges for the Services; loss

of the time-value of money, including but not limited to interest or other income, associated

with the preceding injuries and damages.

                      COUNT VI: NEGLIGENT OMISSION
   (On Behalf of Plaintiff and the National Providers Class, or Alternatively, the
            Statewide Class, Against the Change Health Defendants)

        336.   Plaintiff repeats and realleges every allegation set forth in Paragraphs 1 to

281.

        337.   Plaintiff and the National Providers Class bring this claim as to Change

Health Defendants’ statements and omissions after the Ransomware Attack and shutdown.

        338.   As alleged in greater detail above, Change Health Defendants omitted

material information: (1) regarding the unsecure nature of their services; and (2) following


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the Ransomware Attack, regarding the impact of the Ransomware Attack on the Change

Platform and the timeline for when it would be back online. Specifically, Change Health

Defendants omitted or otherwise failed to disclose that they: (1) lacked adequate data

privacy practices, which rendered the Services unsecure and led to the Ransomware Attack;

and (2) facts that clearly indicated that it would be months before the Change Platform was

up and running at its previous capacity.

       339.   Change Health Defendants knowingly and deliberately failed to disclose (1)

material weaknesses in Change’s System, and (2) the true timeline for when the Change

Platform would be back online, both of which good faith and common decency required

them to disclose to Plaintiff and Class members.

       340.   Such omissions were material following the Ransomware Attack, when

Plaintiff and members of the National Providers Class attempted to mitigate the harm

imposed by Change Health Defendants’ shutdown of the Change Platform.

       341.   Plaintiff and members of the National Providers Class would have taken

different measures to mitigate their harm had Change Health Defendants provided truthful

and accurate information about the duration of their intentional shutdown of the Change

Platform.

       342.   Change Health Defendants knew that their data security obligations were

particularly important given the substantial increase in cyber-attacks and/or ransomware

attacks targeting healthcare entities that collect and store Private Information, preceding

the date of the Ransomware Attack. Change Health Defendants were further aware in their

industry that Providers and their affiliates are prime targets because of the sensitive


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information they collect and store, including financial information of patients, login

credentials, insurance information, medical records and diagnoses, and personal

information of employees and patients—all extremely valuable on underground markets.

Additionally, Change Health Defendants knew or should have known that they were at risk

of experiencing the Ransomware Attack based on the substantial number of recent high

profile cybersecurity incidents at other healthcare partner and provider companies. Indeed,

in their SEC filings, Change Healthcare, Optum Insight, and UHG explicitly acknowledged

the broad range of cybersecurity risks that they face. This knowledge is imputed to

remaining Change Health Defendants as mutually owned and controlled corporate

parent/subsidiaries.

       343.   Change Health Defendants knew that conveying accurate information about

the impact of the Ransomware Attack on the Change Platform and the timeline for when it

would be back online was particularly important to Plaintiff and National Providers Class

members so they could make informed decisions and mitigate the harm they experienced

as a direct result of the Change Platform shutdown. Indeed, Change Health Defendants

knew how critical the Change Platform is to Plaintiff and National Providers Class

members—whether they use the Change Platform directly or through third-party

intermediaries—in the everyday course of their businesses, to (among many other vital

services) submit and receive payment for healthcare services through the Change Platform.

Change Health Defendants had exclusive knowledge of facts that clearly indicated that it

would be months before the Change Platform was up and running at its capacity prior to

the Ransomware Attack, but omitted or otherwise failed to convey that information to


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Plaintiff and Class members. This knowledge is imputed to all Change Health Defendants

as mutually owned and controlled corporate parent/subsidiaries.

        344.   As a direct and proximate result of Change Health Defendants’ wrongful

conduct, Plaintiff and National Providers Class members have suffered damages including

one or more of the following: missed payments for their healthcare services; delayed

payments for their healthcare services; the costs of securing financing alternative to those

missed or delayed payments; interest charges incurred; additional labor costs; expenses

associated with and time spent hiring staff or vendors to troubleshoot the business

disruption caused by Change Health Defendants’ shutdown of the Change Platform;

expenses associated with and time spent researching and implementing new healthcare

payment software and systems; expenses associated with and time spent attempting to

manually submit claims and obtain payments that otherwise were to be processed through

the Change Platform; late penalties assessed for untimely submission of claims; lost benefit

of their bargains and overcharges for the Services; loss of the time-value of money,

including but not limited to interest or other income, associated with the preceding injuries

and damages.

             COUNT VII: NEGLIGENT MISREPRESENTATION
   (On Behalf of Plaintiff and the National Providers Class, or Alternatively, the
            Statewide Class, Against the Change Health Defendants)

        345.   Plaintiff repeats and realleges every allegation set forth in Paragraphs 1 to

281.

        346.   Plaintiff and the National Providers Class bring this claim as to Change

Health Defendants’ statements and omissions after the Ransomware Attack and shutdown.


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      347.   As alleged in greater detail above, Change Health Defendants made

numerous representations: (1) regarding the supposed secure nature of the Services; and

(2) following the Ransomware Attack, regarding the impact of the Ransomware Attack on

the Change Platform and the timeline for when it would be back online. Such

representations were false because Change Health Defendants (1) lacked adequate data

privacy practices, which rendered their services unsecure and led to the Ransomware

Attack; and (2) had exclusive knowledge of facts that clearly indicated that it would be

months before the Change Platform was up and running at its previous capacity.

      348.   Such representations were material to Plaintiff and Class members, who

reasonably relied on Change Health Defendants’ representations following the

Ransomware Attack, when Plaintiff attempted to mitigate the harm imposed by Change

Health Defendants’ shutdown of the Change Platform.

      349.   Plaintiff and members of the National Providers Class would have taken

different measures to mitigate their harm had Change Health Defendants provided truthful

and accurate information about the duration of their intentional shutdown of the Change

Platform.

      350.   Defendants intended for Plaintiff and Class members to rely on their

representations both before and after the Ransomware Attack. In reliance on Defendants’

representations, following the Ransomware Attack, Plaintiff relied on Change Health

Defendants’ representations when making crucial decisions/actions to mitigate the harm

imposed by Change Health Defendants’ shutdown of the Change Platform.




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       351.    Change Health Defendants’ representations were made with knowledge of

their falsity, or at least with extreme disregard for their truth.

       352.    Change Health Defendants knew that their data security obligations were

particularly important given the substantial increase in cyber-attacks and/or ransomware

attacks targeting healthcare entities that collect and store Private Information, preceding

the date of the Ransomware Attack. Change Health Defendants were further aware in their

industry that Providers and their affiliates are prime targets because of the information they

collect and store, including financial information of patients, login credentials, insurance

information, medical records and diagnoses, and personal information of employees and

patients—all extremely valuable on underground markets. Additionally, Change Health

Defendants knew or should have known that they were at risk of experiencing the

Ransomware Attack based on the substantial number of recent high profile cybersecurity

incidents at other healthcare partner and provider companies. Indeed, in their SEC filings,

Change Healthcare, Optum Insight, and UHG explicitly acknowledged the broad range of

cybersecurity risks that they face. This knowledge is imputed to all Change Health

Defendants as mutually owned and controlled corporate parent/subsidiaries.

       353.    Change Health Defendants knew that conveying accurate information about

the impact of the Ransomware Attack on the Change Platform and the timeline for when it

would be back online was particularly important to Plaintiff and National Providers Class

members so they could make informed decisions and mitigate the harm they experienced

as a direct result of the Change Platform shutdown. Indeed, Change Health Defendants

knew how critical the Change Platform is to Plaintiff and National Providers Class


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members—whether they use the Change Platform directly or through third-party

intermediaries—in the everyday course of their businesses, to (among many other vital

services) submit and receive payment for healthcare services provided by Plaintiff and

National Providers Class members. Despite their statements to the contrary, Change Health

Defendants had exclusive knowledge of facts that clearly indicated that it would be months

before the Change Platform was up and running at its capacity prior to the Ransomware

Attack. This knowledge is imputed to all Change Health Defendants as mutually owned

and controlled corporate parent/subsidiaries.

       354.    As a direct and proximate result of Change Health Defendants’ wrongful

conduct, Plaintiff and National Providers Class members have suffered damages including

one or more of the following: missed payments for their healthcare services; delayed

payments for their healthcare services; the costs of securing financing alternative to those

missed or delayed payments; interest charges incurred; additional labor costs; expenses

associated with and time spent hiring staff or vendors to troubleshoot the business

disruption caused by Change Health Defendants’ shutdown of the Change Platform;

expenses associated with and time spent researching and implementing new healthcare

payment software and systems; expenses associated with and time spent attempting to

manually submit claims and obtain payments that otherwise were to be processed through

the Change Platform; late penalties assessed for untimely submission of claims; lost benefit

of their bargains and overcharges for the Services; loss of the time-value of money,

including but not limited to interest or other income, associated with the preceding injuries

and damages.


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                       COUNT VIII: PUBLIC NUISANCE
   (On Behalf of Plaintiff and the National Providers Class, or Alternatively, the
            Statewide Class, Against the Change Health Defendants)

        355.   Plaintiff repeats and realleges every allegation set forth in Paragraphs 1 to

281.

        356.   The Change Health Defendants have substantially and unreasonably

interfered with and endangered the public’s rights to health, welfare, safety, peace, comfort,

and ability to be free from disturbance and reasonable apprehension of danger to personal

property by setting up, providing, managing, maintaining, operating, supervising,

monitoring, securing, and controlling the Change Platform in a manner that made the

platform unreasonably vulnerable to foreseeable attack and intrusion and to a sudden and

sustained lack of timely and accurate claims and payment processing Services for

Providers.

        357.   The Change Health Defendants’ conduct was unreasonable in light of the

known and foreseeable risks of a ransomware attack and industry standards for

cybersecurity (including, e.g., the use of MFA). Further, the Change Health Defendants’

conduct also violated standards set forth under federal law and regulations, rendering the

conduct a per se nuisance.

        358.   As set forth above, at the time of the Ransomware Attack, the Change

Platform was a critical linchpin in the country’s healthcare services infrastructure. Huge

swathes of the healthcare sector—e.g., 94% of hospitals, 100 million patients, and

approximately 1/3 of all healthcare claims and payments—were dependent (knowingly or

unknowingly) on the reliable operation of the Change Platform to timely and accurately


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process multiple types of transactions needed to provide healthcare to patients throughout

the U.S., including verification of insurance for new patients, verification of patient

eligibility and coverage, prior authorizations, processing of insurance claims and appeals

from denials of claims, electronic remittance advice, and payments from insurers.

       359.   Having actively worked to make their platform the backbone of healthcare

operations across the country—both through direct contracts with Providers and by

contracting with innumerable vendors that provide electronic services to Providers—the

Change Health Defendants’ unreasonably inadequate security systems and contingency

planning is all the more egregious.

       360.   At all relevant times, the Change Health Defendants had control over the

instrumentality that has caused the public nuisance at issue, namely the Change Platform

and the System, as well as control over their own conduct that caused the public nuisance,

namely the unreasonably insecure and lax manner in which they set up, provide, manage,

maintain, operate supervise, monitor, secure, and control the Change Platform and System,

including the multiple failures described in this Complaint.

       361.   The Change Health Defendants knew or reasonably should have known that

the harm caused by their conduct outweighed any potential benefit of the use of the Change

Platform in its inadequately secured state.

       362.   The public nuisance, and the economic and other harms to Plaintiff and Class

members was reasonably foreseeable to the Change Health Defendants.

       363.   The Change Health Defendants’ conduct caused, created, or was a substantial

factor in causing the public nuisance at issue, namely a significant and substantial


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interference with the public’s common rights to health, welfare, safety, peace, comfort, and

ability to be free from disturbance and reasonable apprehension of danger to personal

property. As set forth above, following the Ransomware Attack and the sudden and

sustained loss of services from the Change Platform, the ability of patients to receive

healthcare was substantially disrupted, compromised, and endangered throughout the

country, including (a) when Providers were unable to verify coverage, benefits, or

prescriptions for patients, resulting in healthcare being delayed, denied, or inaccessible to

patients, (b) when Providers were forced to cut back on hours, staff, and supplies that

otherwise would have been available for patient care due to lack of timely and reliable

processing of claims and payments, and (c) when Providers were forced to divert staff and

resources from patient care to instead address the lack of Services from the Change

Platform (e.g., trying to process claims and verifications off-platform, trying to secure other

sources of cash, and trying to switch to another platform).

       364.   As Providers, Plaintiff and Class members suffered special economic injuries

distinct from the general harm to healthcare suffered by the public at large (and also distinct

from the privacy harms suffered by patients whose Private Information was compromised).

As set forth above, as a direct and proximate result of Change Health Defendants’ conduct,

Plaintiff and Class members have been injured and are entitled to damages in an amount to

be proven at trial. Plaintiff’s and Class members’ damages include one or more of the

following: missed payments for their healthcare services; delayed payments for their

healthcare services; the costs of securing financing alternative to those missed or delayed

payments; interest charges incurred; additional labor costs; expenses associated with and


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time spent hiring staff or vendors to troubleshoot the business disruption caused by Change

Health Defendants’ shutdown of the Change Platform; expenses associated with and time

spent researching and implementing new healthcare payment software and systems;

expenses associated with and time spent attempting to manually submit claims and obtain

payments that otherwise were to be processed through the Change Platform; late penalties

assessed for untimely submission of claims; lost benefit of their bargains and overcharges

for the Services; loss of the time-value of money, including but not limited to interest or

other income, associated with the preceding injuries and damages.

       365.   Plaintiff and Class members are entitled to appropriate relief to abate the

public nuisance, including injunctive relief requiring the Change Health Defendants to

implement appropriate security measures and contingency plans to protect critical

infrastructure technology and Private Information and to avoid further sudden and

sustained service outages, injunctive relief requiring the Change Health Defendants to

create and robustly fund and staff a system to promptly resolve claim and payment

backlogs and assist Providers with information and financial support needed to respond to

ongoing questions and/or “late” claim penalties, and injunctive relief forgiving (in whole

or part) loans or advances made by Defendants to Plaintiff and Class members in the wake

of the Ransomware Attack.

       366.   Plaintiff and the Class members request all the relief to which they are

entitled in their own right with respect to the distinct special damages they have suffered,

including actual and compensatory damages in an amount to be determined at trial. Plaintiff

and the Class members further request declaratory and injunctive relief providing for the


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abatement of the public nuisance Defendants have created, payment to Plaintiff and the

Class members of monies to abate the public nuisance, and an order enjoining Defendants

from future conduct contributing to the public nuisance described above.

      COUNT IX: VIOLATION OF THE MINNESOTA PROTECTION OF
                             CONSUMER FRAUD ACT
                            Minn. Stat. §§ 325F.68-325F.70
    (On Behalf of Plaintiff and the National Providers Class, or alternatively, the
          Minnesota State Class, Against the Change Health Defendants)

        367.   Plaintiff repeats and realleges every allegation set forth in Paragraphs 1 to

281.

        368.   Under the Minnesota Protection of Consumer Fraud Act (“MPCFA”), and

enforced through § 8.31, it is unlawful for any person to commit a fraud, false pretense,

false promise, misrepresentation, misleading statement, or deceptive practice with the

intent that others rely thereon in connection with the sale of any merchandise.

        369.   Plaintiff and National Providers Class members are considered “persons” for

the purpose of the MPCFA and § 8.31.

        370.   Change Health Defendants committed frauds, false pretenses, false promises,

misrepresentations, misleading statements, or deceptive practices, including but not limited

to the following:

               a. Prior to the shutdown, Change Health Defendants knowingly and

                    willingly misrepresented, through statements and omissions, that their

                    network maintained adequate protections and maintained data in a

                    HIPAA-compliant manner to induce Plaintiff and National Providers

                    Class members to use and rely on Change Health Defendants’ services.


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                 Plaintiff’s and Class members’ decision to trust Change Health

                 Defendants with their processing needs was based on Change Health

                 Defendants’ statements that Change Health Defendants would take

                 adequate     security   precautions   and   maintain     industry   standard

                 cybersecurity measures, and omissions that Change Health Defendants

                 maintained weak data security that failed to comply with the law.

             b. During the shutdown, Change Health Defendants knowingly and

                 willingly misrepresented, through statements and omissions, the extent

                 and impact of the shutdown. Change Health Defendants did so with the

                 intent to deceive Plaintiff and National Providers Class members into

                 believing that the Change Platform would return to functionality quickly.

      371.   Change Health Defendants did so with the intent that others rely thereon,

whether or not any person was in fact misled.

      372.   Change Health Defendants did so in connection with the sale of merchandise.

      373.   Plaintiff and National Providers Class members were injured by Change

Health Defendants’ conduct:

             a. As a direct and proximate result of Change Health Defendants’ wrongful

                 conduct, Plaintiff and National Providers Class members have suffered

                 damages including one or more of the following: missed payments for

                 their healthcare services; delayed payments for their healthcare services;

                 the costs of securing financing alternative to those missed or delayed

                 payments; interest charges incurred; additional labor costs; expenses


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                associated with and time spent hiring staff or vendors to troubleshoot the

                business disruption caused by Change Health Defendants’ shutdown of

                the Change Platform; expenses associated with and time spent

                researching and implementing new healthcare payment software and

                systems; expenses associated with and time spent attempting to manually

                submit claims and obtain payments that otherwise were to be processed

                through the Change Platform; late penalties assessed for untimely

                submission of claims; lost benefit of their bargains and overcharges for

                the Services; loss of the time-value of money, including but not limited

                to interest or other income, associated with the preceding injuries and

                damages.

             b. Moreover, as a direct and proximate result of Change Health Defendants’

                misleading statements and omissions during the shutdown, Plaintiff and

                National Providers Class members incurred additional financial damages,

                the extent of which is not yet fully known and continues to impact

                Plaintiff and National Providers Class members.

      374.   There is a causal relationship between Plaintiff’s and Class members’ loss

and Change Health Defendants’ actions:

             a. But for Change Health Defendants’ failure to employ reasonable security

                measures, in violation of the law, and despite representing otherwise, the

                Change Platform would not have been shut down, and Plaintiff and




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                 National Providers Class members would not have suffered injuries and

                 incurred damages.

              b. But for Change Health Defendants’ misleading statements and omissions

                 regarding the efficacy of Change Health Defendants’ security measures,

                 Plaintiff and National Providers Class members would not have relied on

                 Change Health Defendants for their clearinghouse services and would not

                 have suffered injuries and incurred damages.

              c. But for Change Health Defendants’ misleading statements and omissions

                 regarding the duration and extent of the shutdown, Plaintiff and National

                 Providers Class members would not have incurred additional costs

                 associated with mitigating the damage caused by Change Health

                 Defendants.

              d. Thus, Plaintiff and National Providers Class members relied on Change

                 Health Defendants actions.

       375.   There is a public benefit in holding Change Health Defendants liable for their

fraudulent, misleading, and deceptive actions. Change Health Defendants directed their

numerous misleading statements and omissions at the consuming public and the

marketplace. Change Health Defendants’ misleading statements and omissions were

widely covered in the media and relied on by providers. This prevented providers, insurers,

and EHR vendors from making informed decisions during the shutdown, thereby impacting

the consumer decision-making process. There is a public benefit in holding Change Health

Defendants liable for their misleading statements and omissions.


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                   COUNT X: DECLARATORY JUDGMENT
   (On Behalf of Plaintiff and the National Providers Class, or Alternatively, the
            Statewide Class, Against the Change Health Defendants)

        376.   Plaintiff repeats and realleges every allegation set forth in Paragraphs 1 to

281.

        377.   Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court

is authorized to enter a judgment declaring the rights and legal relations of the parties and

grant further necessary relief. Furthermore, the Court has broad authority to restrain acts,

such as here, that are tortious and violate the terms of the federal statutes described in this

Complaint.

        378.   An actual controversy has arisen in the wake of the Ransomware Attack

regarding Defendants’ present and prospective common law and other duties to reasonably

safeguard the networks that provide services that Plaintiff and Class members rely on for

Services, and whether Change Health Defendants are currently maintaining data security

measures adequate to prevent further ransomware attacks and ensure a functioning Change

Platform, which is a lynchpin of Providers’ payment practices.

        379.   Another ransomware attack would likely result in Change Health Defendants

disconnecting the Change Platform again, causing further injuries to Plaintiff and Class

members.

        380.   Pursuant to the Declaratory Judgment Act, Plaintiff and Class members seek

a declaration that: (a) Change Health Defendants’ existing data security measures do not

comply with their obligations and duties of care; and (b) in order to comply with their



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obligations and duties of care, (1) Change Health Defendants must have policies and

procedures in place to ensure the Change Platform and the System maintain reasonable,

industry-standard security measures, including, but not limited to, those listed in this

Complaint, and must comply with those policies and procedures; (2) Change Health

Defendants must implement and maintain reasonable, industry-standard security measures,

including, but not limited to:

          a. Engaging third-party security auditors/penetration testers as well as internal

              security personnel to conduct testing, including simulated attacks,

              penetration tests, and audits on Change Health Defendants’ System on a

              periodic basis, and ordering Change Health Defendants to promptly correct

              any problems or issues detected by such third-party security auditors;

          b. Engaging third-party security auditors and internal personnel to run

              automated security monitoring;

          c. Auditing, testing, and training their security personnel regarding any new or

              modified procedures;

          d. Encrypting Private Information and segmenting critical technology and

              Private Information by, among other things, creating firewalls and access

              controls so that if one area of the System is compromised, cybercriminals

              cannot gain access to other portions of the System;

          e. Purging, deleting, and destroying in a reasonable and secure manner

              Providers’ patients’ Private Information not necessary to perform essential

              business functions;


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             f. Conducting regular database scanning and security checks;

             g. Conducting regular employee education regarding best security practices;

             h. Implementing MFA and the principle of least privilege to combat system-

                wide ransomware attacks; and

             i. Routinely and continually conducting internal training and education to

                inform internal security personnel how to identify and contain a ransomware

                attack when it occurs and what to do in response.

                          REQUEST FOR RELIEF
       WHEREFORE, Plaintiff, on behalf of itself and Class members set forth herein,

respectfully request the following relief:

       (a)      That the Court certify this action as a class action pursuant to Rule 23 of the

                Federal Rules of Civil Procedure, appoint Plaintiff as class representative and

                Plaintiff’s counsel as Class Counsel;

       (b)      That the Court grant permanent injunctive relief to prohibit and prevent

                Defendants from continuing to engage in the unlawful acts, omissions, and

                practices described herein;

       (c)      That the Court award Plaintiff and Class members compensatory,

                consequential, and general damages, including nominal damages as

                appropriate, for each count as allowed by law in an amount to be determined

                at trial;

       (d)      That the Court award statutory damages, trebled, and/or punitive or

                exemplary damages, to the extent permitted by law;



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      (e)    That the Court order disgorgement and restitution of all earnings, profits,

             compensation, and benefits received by Defendants as a result of their

             unlawful acts, omissions, and practices;

      (f)    That Plaintiff be granted the declaratory and injunctive relief sought herein;

      (g)    That the Court award to Plaintiff the costs and disbursements of the action,

             along with reasonable attorneys’ fees, costs, and expenses; and

      (h)    That the Court award pre-and post-judgment interest at the maximum legal

             rate and all such other relief as it deems just and proper.

                            DEMAND FOR JURY TRIAL

      Plaintiff hereby demands a jury trial in the instant action.

Dated: March 14, 2025                      s/Daniel E. Gustafson
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